                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6 Summary (Form 6 - Summary) (12/07)
                                                                                                                                                                                                                     Desc: Main
                                                                                                        Document Page 1 of 55
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                      District of Puerto Rico

                                                                     IN RE:                                                                                                                Case No. 09-06817(BKT)
                                                                     CDT DR. CAPARROS, INC.                                                                                                Chapter 11
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $       1,083,500.00



                                                                      B - Personal Property                                           Yes                          8 $         801,801.37



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                           $      1,606,432.13


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          3                           $        414,970.82
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          6                           $        333,787.93
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          2
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                       No                                                                                $
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                       No                                                                                $
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      23 $        1,885,301.37 $           2,355,190.88
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6A (Official Form 6A) (12/07)
                                                                                                                                                                                                                                         Desc: Main
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                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                            Case No. 09-06817(BKT)
                                                                                                                                Debtor(s)                                                                                                    (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                                                                                                                      DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                  PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                   DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                       SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION



                                                                     LOT & BUILDING CALLE BETANCES #2, UTUADO, PR                                              Fee Simple                                                    880,500.00             1,526,305.78
                                                                     LOT & BUILDING CALLE SAN MIGUEL # 2 UTUADO, PR                                            Fee Simple                                                    115,000.00                   80,126.35
                                                                     LOT & BUILDING LOCATED AT CALLE AR BARCELO AVE.                                                                                                          88,000.00             1,526,305.78
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                                                                     MORELL, UTUADO, PR 00614 PHARMACY




                                                                                                                                                                                      TOTAL                                1,083,500.00
                                                                                                                                                                                                                     (Report also on Summary of Schedules)
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
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                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                           Case No. 09-06817(BKT)
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial            CHECKING ACCOUNT WITH DORAL BANK                                                                                                 0.00
                                                                           accounts, certificates of deposit or
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,        PUERTO RICO ELECTRIC POWER AUTHORITY THREE BONDS                                                                          21,000.00
                                                                           telephone companies, landlords, and             2 FOR $10,000.00 AND 1 FOR $1,000.00
                                                                           others.
                                                                        4. Household goods and furnishings,            X
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                            X
                                                                        7. Furs and jewelry.                           X
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                            Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6B (Official Form 6B) (12/07) - Cont.
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                                                                     IN RE CDT DR. CAPARROS, INC.                                                                              Case No. 09-06817(BKT)
                                                                                                                            Debtor(s)                                                                           (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                               HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                        CURRENT VALUE OF
                                                                                                                     N                                                                                                 DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                  PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                     DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                    DEDUCTING ANY
                                                                                                                     E                                                                                                  SECURED CLAIM OR
                                                                                                                                                                                                                            EXEMPTION




                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                           ACCOUNTS RECEIVABLES FROM MEDICAL PLANS                                                              255,801.37
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
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                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and         X
                                                                          other vehicles and accessories.
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and             OFFICE EQUIPMENT THE AMOUNT IS LISTED WITH THE                                                               0.00
                                                                          supplies.                                      INVENTORY
                                                                      29. Machinery, fixtures, equipment, and            MACHINERY & EQUIPMENT THE AMOUNT IS LISTED WITH THE                                                          0.00
                                                                          supplies used in business.                     INVENTORY
                                                                      30. Inventory.                                     INVENTORY, MACHINERY AND EQUIPMENT ARE LISTED                                                        525,000.00
                                                                                                                         TOGETHER.
                                                                      31. Animals.                                   X
                                                                            Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
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                                                                     IN RE CDT DR. CAPARROS, INC.                                                                        Case No. 09-06817(BKT)
                                                                                                                      Debtor(s)                                                                                (If known)

                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                N                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                O                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                                                        DEDUCTING ANY
                                                                                                                E                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION




                                                                      32. Crops - growing or harvested. Give    X
                                                                          particulars.
                                                                      33. Farming equipment and implements.     X
                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                        TOTAL                                801,801.37
                                                                                                                                                                   (Include amounts from any continuation sheets attached.
                                                                              5 continuation sheets attached                                                                  Report total also on Summary of Schedules.)
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                                    Centro Diagnóstico y Tratamiento Dr. Caparrós, Inc.
                                                    Calle Betances #2
                                                    Utuado, PR 00641

                                             LISTADO CUENTAS POR COBRAR
                                                   PLANES MEDICOS

                                                                                                         150 DIAS
         PLAN MEDICO            CORRIENTE     30 DIAS       60 DIAS        90 DIAS       120 DIAS         Y MAS            TOTAL
American Health Medicare        $     -     $    524.64   $     38.87    $    273.28    $       -      $    265.33     $     1,102.12
Asociacion de Maestros          $     -     $     18.00   $     30.60    $    112.60    $    (77.50)   $    (61.04)    $        22.66
Cigna Preferred                 $     -     $       -     $       -      $     (3.20)   $       -      $        -      $        (3.20)
Cosvi Adfan                     $     -     $    171.00   $    110.65    $    320.00    $    245.60    $     85.00     $       932.25
Cosvi Med                       $     -     $       -     $     33.60    $     50.20    $      2.00    $    (96.96)    $       (11.16)
Cruz Azul de PR                 $     -     $     96.20   $      8.25    $ (124.05)     $    (22.10)   $ (235.40)      $      (277.10)
First Plus                      $     -     $    126.79   $    651.86    $    155.78    $    183.31    $     78.45     $     1,196.19
Humana Gold Choice              $     -     $       -     $       -      $     48.62    $       -      $        -      $        48.62
Humana Health Plan              $     -     $       -     $       -      $    171.96    $     94.00    $     90.00     $       355.96
Humana Insurance Group          $     -     $     80.00   $      8.30    $     64.75    $    (30.00)   $     96.00     $       219.05
International Medical Card      $     -     $       -     $       -      $       -      $       -      $     10.10     $        10.10
Mafpre Medicare Advantage       $     -     $    430.48   $     54.28    $    121.81    $       -      $    273.40     $       879.97
Mapfre (Canada Life)            $     -     $       -     $     10.85    $ (125.00)     $     (8.00)   $      (8.00)   $      (130.15)
MCS                             $     -     $       -     $       -      $    (39.30)   $     30.67    $     53.60     $        44.97
MCS Classicare                  $     -     $ 1,762.42    $    487.54    $      3.89    $    315.38    $    867.52     $     3,436.75
MCS Personal                    $     -     $      6.40   $     51.55    $    (15.85)   $     76.38    $ (103.20)      $        15.28
MCS Preferred                   $     -     $       -     $       -      $      5.00    $       -      $    (42.20)    $       (37.20)
MCS Reforma                     $     -     $     56.00   $       -      $       -      $     20.00    $        -      $        76.00
Medicare (First Coast)          $     -     $    219.83   $    545.06    $     52.81    $    233.48    $ 2,570.76      $     3,621.94
Medicare y Mucho Mas            $     -     $ 5,020.58    $ 6,218.08     $ 5,580.40     $ 2,095.79     $ 2,850.34      $    21,765.19
Preferred Health                $     -     $       -     $    329.65    $    221.10    $     58.20    $      (0.40)   $       608.55
Preferred Medicare Choice       $     -     $ 10,591.52   $ 5,947.35     $ 19,097.53    $       -      $        -      $    35,636.40
Privados                        $     -     $ 10,177.69   $ 12,696.00    $ 14,840.95    $ 55,989.69    $ 53,562.20     $   147,266.53
Prossam Plus                    $     -     $       -     $     52.33    $       -      $      0.60    $        -      $        52.93
Salud Dorada MC                 $     -     $    398.84   $    836.04    $ 1,419.41     $    386.35    $ 1,467.63      $     4,508.27
Tricare                         $     -     $       -     $    (19.78)   $       -      $       -      $        -      $       (19.78)
Triple S Optimo                 $     -     $    848.31   $    860.50    $ 1,361.42     $    143.44    $    455.71     $     3,669.38
Triple S Privado                $     -     $     35.00   $    155.25    $     41.18    $ (392.98)     $ (607.05)      $      (768.60)
Triple S Reforma Ipa 3          $     -     $    584.00   $ 2,265.88     $    450.00    $    326.09    $     22.08     $     3,648.05
Triple S Reforma Otros Ipas     $     -     $ 1,423.00    $    668.40    $ 1,250.73     $    956.76    $ 1,028.55      $     5,327.44
Triple S Selecto Ipa 3          $     -     $ 4,925.03    $ 5,844.51     $ 2,471.50     $ 1,172.90     $ 5,078.29      $    19,492.23
Triple S Selecto Otros Ipas     $     -     $    520.11   $    662.69    $    345.49    $    666.12    $    917.32     $     3,111.73
                        TOTAL   $     -     $ 38,015.84   $ 38,548.31    $ 48,153.01    $ 62,466.18    $ 68,618.03     $   255,801.37
                                                                              Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
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                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                     Case No. 09-06817(BKT)
                                                                                                                               Debtor(s)                                                                         (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $136,875.
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                           11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     Not Applicable
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                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
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                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                                              Case No. 09-06817(BKT)
                                                                                                                                 Debtor(s)                                                                                                                                   (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
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                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                                                                                                                              AMOUNT OF
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                             DATE CLAIM WAS INCURRED,                                                      CLAIM WITHOUT
                                                                                                                                                                                                                                                                                      UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                   NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                             DEDUCTING
                                                                                                                                                                                                                                                                                    PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                        VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL




                                                                     ACCOUNT NO. 3002003066                                     X                                  MORTGAGE ON LOT & BUILDING CALLE                                                         1,526,305.78               557,805.78
                                                                     DORAL BANK                                                                                    BETANCES #2, UTUADO, PR
                                                                     PO BOX 71529
                                                                     SAN JUAN, PR 00936-8629

                                                                                                                                                                   VALUE $ 968,500.00

                                                                     ACCOUNT NO. 30047594                                       X                                  MORTGAGE ON LOT & BUILDING CALLE                                                              80,126.35
                                                                     DORAL BANK                                                                                    SAN MIGUEL # 2 UTUADO, PR
                                                                     PO BOX 71529
                                                                     SAN JUAN, PR 00936-8629

                                                                                                                                                                   VALUE $ 115,000.00

                                                                     ACCOUNT NO.




                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                   VALUE $
                                                                                                                                                                                                                      Subtotal
                                                                            0 continuation sheets attached                                                                                                (Total of this page) $ 1,606,432.13 $ 557,805.78
                                                                                                                                                                                                                         Total
                                                                                                                                                                                                       (Use only on last page) $ 1,606,432.13 $ 557,805.78
                                                                                                                                                                                                                                                           (Report also on         (If applicable, report
                                                                                                                                                                                                                                                           Summary of              also on Statistical
                                                                                                                                                                                                                                                           Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                                   Data.)
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6E (Official Form 6E) (12/07)
                                                                                                                                                                                                                           Desc: Main
                                                                                                       Document Page 13 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                              Case No. 09-06817(BKT)
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
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                                                                     the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                     ü Wages,  salaries, and commissions
                                                                       Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                     ü Taxes,
                                                                       Taxes and Certain Other Debts Owed to Governmental Units
                                                                              customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            2 continuation sheets attached
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6E (Official Form 6E) (12/07) - Cont.
                                                                                                                                                                                                                                                                                Desc: Main
                                                                                                       Document Page 14 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                                                                                         Case No. 09-06817(BKT)
                                                                                                                                                    Debtor(s)                                                                                                                    (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                                                                           Wages, salaries, and commissions
                                                                                                                                                              (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                                                                              AMOUNT




                                                                                                                                                                                                                   CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                               DISPUTED
                                                                                                                                                                                                                                                                           AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                AMOUNT
                                                                                                                                                                DATE CLAIM WAS INCURRED                                                                                    ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                               OF
                                                                                                                                                              AND CONSIDERATION FOR CLAIM                                                                                     TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                CLAIM
                                                                                                                                                                                                                                                                           PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                               IF ANY




                                                                     ACCOUNT NO.                                                                           LIDUIDATION AFTER
                                                                     DANIEL NAVARRO ROMAN                                                                  RESIGNATION
                                                                     HACIENDA TOLEDO
                                                                     M136 CALLE SALAMANCA
                                                                     ARECIBO, PR 00612
                                                                                                                                                                                                                                                              954.52           954.52
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                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                          Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                   (Totals of this page) $                                        954.52 $         954.52 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $
                                                                                                                                                                                Total
                                                                                                                  (Use only on last page of the completed Schedule E. If applicable,
                                                                                                     report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                  $                $
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6E (Official Form 6E) (12/07) - Cont.
                                                                                                                                                                                                                                                                              Desc: Main
                                                                                                       Document Page 15 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                                                                                         Case No. 09-06817(BKT)
                                                                                                                                                    Debtor(s)                                                                                                                  (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                              (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                                                                            AMOUNT




                                                                                                                                                                                                                   CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                               DISPUTED
                                                                                                                                                                                                                                                                         AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                AMOUNT
                                                                                                                                                                DATE CLAIM WAS INCURRED                                                                                  ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                               OF
                                                                                                                                                              AND CONSIDERATION FOR CLAIM                                                                                   TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                CLAIM
                                                                                                                                                                                                                                                                         PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                             IF ANY




                                                                     ACCOUNT NO.                                                                           PROPERTY TAXES REAL
                                                                     CRIM                                                                                  PROPERTY
                                                                     C/O ANA R. DAVILA
                                                                     PO BOX 195387
                                                                     SAN JUAN, PR 00919-5387
                                                                                                                                                                                                                                                              507.74         507.74
                                                                                                                                                           RETAINED TAXES FOR
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                                                                     ACCOUNT NO. XX-XXXXXXX
                                                                     DEPARTAMENTO DE HACIENDA                                                              PROFESSIONAL SERVICES
                                                                     PO BOX 9022501
                                                                     SAN JUAN, PR 00902-2501

                                                                                                                                                                                                                                                           79,704.00      79,704.00
                                                                     ACCOUNT NO. 2960720000                                                                UMEPLOYMENT AND
                                                                     DEPARTAMENTO DEL TRABAJO Y RECURSOS HUM.                                              DISABILITY
                                                                     EDIF. PRUDENCIO RIVERA MARTINEZ
                                                                     AVE. MUÑOZ RIVERA #505 PISO 21
                                                                     SAN JUAN, PR 00918



                                                                                                                                                                                                                                                            8,462.83       8,462.83
                                                                     ACCOUNT NO. XX-XXXXXXX                                                                MEDICARE AND SOCIAL
                                                                     INTERNAL REVENUE SERVICES                                                             SECURITY
                                                                     City View Plaza 48 Carr.164
                                                                     PHILADELPHIA, PA 19255-0030

                                                                                                                                                                                                                                                          309,786.16     309,786.16
                                                                     ACCOUNT NO. XX-XXXXXXX                                                                MUNICIPAL LICENSE
                                                                     MUNICIPALITY OF UTUADO                                                                SEPTEMBER 2008
                                                                     PO BOX
                                                                     UTUADO, PR 00641

                                                                                                                                                                                                                                                           15,355.57      15,355.57
                                                                     ACCOUNT NO. XX-XXXXXXX                                                                WORKMEN'S COMPENSATION
                                                                     STATE INSURANCE FUND                                                                  PAYMENT PLAN 2007
                                                                     PO BOX 365028
                                                                     SAN JUAN, PR 00936-5028

                                                                                                                                                                                                                                                              200.00         200.00
                                                                     Sheet no.       2 of        2 continuation sheets attached to                                                                          Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                   (Totals of this page) $ 414,016.30 $ 414,016.30 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $ 414,970.82
                                                                                                                                                                                Total
                                                                                                                  (Use only on last page of the completed Schedule E. If applicable,
                                                                                                     report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                  $ 414,970.82 $
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6F (Official Form 6F) (12/07)
                                                                                                                                                                                                                                            Desc: Main
                                                                                                       Document Page 16 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                                                Case No. 09-06817(BKT)
                                                                                                                                 Debtor(s)                                                                                                             (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                          (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. 500127                                                                                   MEDICAL SUPPLIES
                                                                     ABBOTT
                                                                     PO BOX 71469
                                                                     SAN JUAN, PR 00936-1469

                                                                                                                                                                                                                                                                                  3,310.77
                                                                     ACCOUNT NO. 1368, 1806                                                                               OFFICE SUPPLIES
                                                                     ATLANTIC OFFICE
                                                                     PO BOX 1593
                                                                     ARECIBO, PR

                                                                                                                                                                                                                                                                                  2,975.69
                                                                     ACCOUNT NO. 9611497143                                                                               LEASE OF MOTOR VEHICLE HYUNDAI
                                                                     BANCO BILBAO VIZCAYA ARGENTARIA
                                                                     PO BOX 364745
                                                                     SAN JUAN, PR 00936-4745

                                                                                                                                                                                                                                                                                  9,711.24
                                                                     ACCOUNT NO. 260-040472. 00025612                                                                     LEASE OF LABORATORY EQUIPMENT NOV. 9,
                                                                     BANCO POPULAR DE PUERTO RICO                                                                         2006
                                                                     PO BOX 15011
                                                                     SAN JUAN, PR 00902-8501

                                                                                                                                                                                                                                                                                 22,250.27
                                                                                                                                                                                                                                          Subtotal
                                                                            5 continuation sheets attached                                                                                                                    (Total of this page) $                             38,247.97
                                                                                                                                                                                                                                             Total
                                                                                                                                                                                (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                    the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.) $
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                                                                                                                                          Desc: Main
                                                                                                       Document Page 17 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                                              Case No. 09-06817(BKT)
                                                                                                                              Debtor(s)                                                                                                              (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 7004286396048                                                                          LEASE OF BMW
                                                                     BANCO SANTANDER
                                                                     PO BOX 362589
                                                                     SAN JUAN, PR 00936-2589

                                                                                                                                                                                                                                                                               10,439.88
                                                                     ACCOUNT NO. CDT CAPARROS                                                                           X-RAY SUPPLIES
                                                                     BIO IMAGING MEDICAL SERVICES
                                                                     PO BOX 2116
                                                                     VEGA ALTA, PR 00692
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                                                                                                                                                                                                                                                                               10,181.70
                                                                     ACCOUNT NO. 870                                                                                    LABORATORY SUPPLIES
                                                                     BIONUCLEAR
                                                                     PO BOX 190639
                                                                     SAN JUAN, PR 00919-0639

                                                                                                                                                                                                                                                                                3,000.00
                                                                     ACCOUNT NO.                                                                                        MEDICAL BILLING
                                                                     CLARA MORALES
                                                                     PO BOX 141195
                                                                     ARECIBO, PR 00614-1195

                                                                                                                                                                                                                                                                                4,153.87
                                                                     ACCOUNT NO. CDRC                                                                                   X-RAY SUPPLIES
                                                                     COVIDIEN
                                                                     GPO BOX 71416
                                                                     SAN JUAN, PR 00936

                                                                                                                                                                                                                                                                                  809.90
                                                                     ACCOUNT NO. JC2288                                                                                 PHARMCEUTICAL SUPPLIES
                                                                     DE VICTORIA MEDICAL
                                                                     PO BOX 7468
                                                                     SAN JUAN, PR 00919-7468

                                                                                                                                                                                                                                                                                1,527.78
                                                                     ACCOUNT NO.                                                                                        PROFESSIONAL SERVICES - PEDIATRICIAN                                                        X
                                                                     DR. WILLIE MALAVE
                                                                     PMB 513 PO BOX 819
                                                                     LARES, PR 00669

                                                                                                                                                                                                                                                                               20,000.00
                                                                     Sheet no.       1 of        5 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                             50,113.13
                                                                                                                                                                                                                                           Total
                                                                                                                                                                              (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                  the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                               Summary of Certain Liabilities and Related Data.) $
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                                                                                                                                          Desc: Main
                                                                                                       Document Page 18 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                                              Case No. 09-06817(BKT)
                                                                                                                              Debtor(s)                                                                                                              (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 4199,4378                                                                              EMERGENCY ROOM SUPPLIES
                                                                     DROGUERIA BORSCHOW
                                                                     PO BOX 366211
                                                                     SAN JUAN, PR 00936-6211

                                                                                                                                                                                                                                                                               26,848.72
                                                                     ACCOUNT NO. 101679                                                                                 PHARMACEUTICAL SUPPLIES
                                                                     DROGUERIA CENTRAL
                                                                     PO BOX 1366
                                                                     DORADO, PR 00646
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                                                                                                                                                                                                                                                                                7,032.32
                                                                     ACCOUNT NO. CDT1001                                                                                PHARMACEUTICAL SUPPLIES
                                                                     F. BARAGAÑO, INC,
                                                                     PO BOX 364421
                                                                     SAN JUAN, PR 00936-4421

                                                                                                                                                                                                                                                                                1,142.05
                                                                     ACCOUNT NO. 4744-0870-1827-9828                                                                    CREDIT CARD VISA - BUSINESS CARD
                                                                     FIA CARD SERVICES
                                                                     PO BOX 15726
                                                                     WILMINGTON, DE 19986-5726

                                                                                                                                                                                                                                                                                5,167.54
                                                                     ACCOUNT NO.                                                                                        MAINTENANCE SAFETY
                                                                     FIRE PROTECTION
                                                                     PO BOX 9306 COTTO STATION
                                                                     ARECIBO, PR 00613

                                                                                                                                                                                                                                                                                  235.00
                                                                     ACCOUNT NO. 09-14457                                                                               LABORATORY REAGENT
                                                                     GENTECH BIOMEDICAL INC.
                                                                     PO BOX 192438
                                                                     SAN JUAN, PR 00919-2438

                                                                                                                                                                                                                                                                                  437.50
                                                                     ACCOUNT NO.                                                                                        X-RAY EQUIPMENT MAINTENANCE
                                                                     GLOBAL DOSIMETRY
                                                                     FILE 55667
                                                                     LOS ANGELES, CA 90074-5667

                                                                                                                                                                                                                                                                                   92.60
                                                                     Sheet no.       2 of        5 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                             40,955.73
                                                                                                                                                                                                                                           Total
                                                                                                                                                                              (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                  the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                               Summary of Certain Liabilities and Related Data.) $
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                                                                                                                                         Desc: Main
                                                                                                       Document Page 19 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                                             Case No. 09-06817(BKT)
                                                                                                                              Debtor(s)                                                                                                             (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                  DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                             CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                    SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 203336                                                                                 MEDICAL SUPPLIES
                                                                     HENRY SHEIN, INC.
                                                                     BOX 371952
                                                                     PITTSUBURG, PA 15250-7952

                                                                                                                                                                                                                                                                                 236.34
                                                                     ACCOUNT NO. 289                                                                                    LABORATORY REFERENCE PATOLOGICAL
                                                                     LAB. PATOLOGIA DR. NOY                                                                             LABORATORY
                                                                     PO BOX 362842
                                                                     SAN JUAN, PR 00936-2842
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                                                                                                                                                                                                                                                                                  30.00
                                                                     ACCOUNT NO. 60203                                                                                  LABORATORY REFERENCE
                                                                     LABORATORIO QUEST
                                                                     AVE.MUÑOZ RIVERA 881
                                                                     ESQ. AVE. UNIVERSIDAD
                                                                     RIO PIEDRAS, PR 00927
                                                                                                                                                                                                                                                                               6,414.21
                                                                     ACCOUNT NO.                                                                                        X-RAY SUPPLIES
                                                                     LIFE IMAGING
                                                                     PO BOX 8901
                                                                     HATILLO, PR 00659-8901

                                                                                                                                                                                                                                                                                 150.00
                                                                     ACCOUNT NO. HCDTDRCAPARRO-928                                                                      PHARMACEUTICAL PRODUCTS
                                                                     LLORENS PHARMACEUTICAL
                                                                     URB. LAS CUMBRES 497 PMB 396
                                                                     AVE. EMILIANO
                                                                     SAN JUAN, PR 00926
                                                                                                                                                                                                                                                                                 162.45
                                                                     ACCOUNT NO.                                                                                        EQUIPMENT FOR EKG CARDIOLOGY TESTS
                                                                     MEDICAL PRODUCTS
                                                                     PO BOX 850
                                                                     GURABO, PR 00778

                                                                                                                                                                                                                                                                               3,887.50
                                                                     ACCOUNT NO.                                                                                        PHARMACY COMPUTER EQUIPMENT
                                                                     MORENO COMPUTERS
                                                                     21 GEORGETTI
                                                                     BARCELONETA, PR

                                                                                                                                                                                                                                                                               9,137.97
                                                                     Sheet no.       3 of        5 continuation sheets attached to                                                                                                     Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                            (Total of this page) $                             20,018.47
                                                                                                                                                                                                                                          Total
                                                                                                                                                                             (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                 the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                              Summary of Certain Liabilities and Related Data.) $
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                                                                                                                                          Desc: Main
                                                                                                       Document Page 20 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                                              Case No. 09-06817(BKT)
                                                                                                                              Debtor(s)                                                                                                              (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                   DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                              CONSIDERATION FOR CLAIM. IF CLAIM IS                                                           OF
                                                                                         (See Instructions Above.)                                                                     SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 06101001009376                                      X                                  GUARANTEE TO THE LOAN TO THE DEBTOR IN
                                                                     ORIENTAL GROUP                                                                                     POSSESSION.
                                                                     PO BOX 71578
                                                                     SAN JUAN, PR 00936-8678

                                                                                                                                                                                                                                                                               85,335.22
                                                                     ACCOUNT NO. 260040472 0012841                                                                      LEASE OF PHOTOCOPY MACHINE NOV. 9, 2006
                                                                     POPULAR AUTO
                                                                     BANKRUPTCY DEPARTMENT
                                                                     PO BOX 366818
                                                                     SAN JUAN, PR 00936-6818
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                                                                                                                                                                                                                                                                                  735.04
                                                                     ACCOUNT NO. 95373843                                                                               OXYGEN SUPPLIES
                                                                     PRAXAIR PUERTO RICO
                                                                     PO BOX 70352
                                                                     SAN JUAN, PR 00936-8352

                                                                                                                                                                                                                                                                                  227.00
                                                                     ACCOUNT NO.                                                                                        WATER UTILITY
                                                                     PUERTO RICO AQUEDUCT & SEWER AUTHORITY
                                                                     PO BOX 70101
                                                                     SAN JUAN, PR 00936-8101


                                                                                                                                                                                                                                                                                1,688.23
                                                                     ACCOUNT NO.                                                                                        ELECTRICITY UTILITY
                                                                     PUERTO RICO ELECTRIC POWER AUTHORITY
                                                                     PO BOX 363508
                                                                     SAN JUAN, PR 00936-3508


                                                                                                                                                                                                                                                                                4,456.36
                                                                     ACCOUNT NO.                                                                                        TELEPHONE SERVICE
                                                                     PUERTO RICO TELEPHONE COMPANY
                                                                     PO BOX 71535
                                                                     SAN JUAN, PR 00936

                                                                                                                                                                                                                                                                                1,836.23
                                                                     ACCOUNT NO. CDD002                                                                                 LABORATORY REAGENTS
                                                                     RANDOX
                                                                     PO BOX 29029
                                                                     SAN JUAN, PR 00929-0029

                                                                                                                                                                                                                                                                                5,016.35
                                                                     Sheet no.       4 of        5 continuation sheets attached to                                                                                                      Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                             (Total of this page) $                             99,294.43
                                                                                                                                                                                                                                           Total
                                                                                                                                                                              (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                  the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                               Summary of Certain Liabilities and Related Data.) $
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6F (Official Form 6F) (12/07) - Cont.
                                                                                                                                                                                                                                       Desc: Main
                                                                                                       Document Page 21 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                                            Case No. 09-06817(BKT)
                                                                                                                              Debtor(s)                                                                                                           (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                  DATE CLAIM WAS INCURRED AND                                                             AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                             CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                         (See Instructions Above.)                                                                    SUBJECT TO SETOFF, SO STATE                                                            CLAIM




                                                                     ACCOUNT NO. 96753816                                                                               LEASE OF HONDA ODYSSEY
                                                                     RELIABLE FINANCIAL
                                                                     BOX 21382
                                                                     SAN JUAN, PR 00928-1382

                                                                                                                                                                                                                                                                            20,064.00
                                                                     ACCOUNT NO.                                                                                        PROFESSIONAL SERVICES
                                                                     RUY DELGADO ZAYAS, ESQ.
                                                                     PO BOX 366785
                                                                     SAN JUAN, PR 00936-6785
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                                                                                                                                                                                                                                                                             5,600.00
                                                                     ACCOUNT NO. CDTUTUADO                                                                              SOFTWARE FOR HOSPITALS
                                                                     SABIAMED
                                                                     PO BOX 6150
                                                                     CAGUAS, PR 00726-6150

                                                                                                                                                                                                                                                                            52,875.28
                                                                     ACCOUNT NO. 8144432                                                                                BIO MEDICAL WASTE CONNECTOR
                                                                     STERICYCLE
                                                                     PO BOX 9001590
                                                                     LOUISVILLE, KY 40290-1590

                                                                                                                                                                                                                                                                             1,127.86
                                                                     ACCOUNT NO.                                                                                        POSTAGE MACHINE
                                                                     TISCHER & COMPANY
                                                                     PO BOX 9020524
                                                                     SAN JUAN, PR 00902-0524

                                                                                                                                                                                                                                                                             1,300.00
                                                                     ACCOUNT NO. 712567585                                                                              PHOTOCOPY MACHINE
                                                                     XEROX CORPORATION
                                                                     PO BOX 650361
                                                                     DALLAS, TX 75265-0361

                                                                                                                                                                                                                                                                             3,372.83
                                                                     ACCOUNT NO. 2204                                                                                   MAINTENANCE SUPPLIES
                                                                     YOLY INDUSTRIAL
                                                                     PO BOX 8668
                                                                     CAGUAS, PR 00726

                                                                                                                                                                                                                                                                               818.23
                                                                     Sheet no.       5 of        5 continuation sheets attached to                                                                                                   Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page) $                             85,158.20
                                                                                                                                                                                                                                          Total
                                                                                                                                                                             (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                 the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                              Summary of Certain Liabilities and Related Data.) $ 333,787.93
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6G (Official Form 6G) (12/07)
                                                                                                                                                                                                                          Desc: Main
                                                                                                       Document Page 22 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                              Case No. 09-06817(BKT)
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                     POPULAR AUTO                                                                             LEASE CONTRACT OF 06 HP PRINTER
                                                                     BANKRUPTCY DEPARTMENT
                                                                     PO BOX 366818
                                                                     SAN JUAN, PR 00936-6818
                                                                     BANCO POPULAR DE PUERTO RICO                                                             LEASE OF LABORATORY EQUIPMENT
                                                                     PO BOX 15011
                                                                     SAN JUAN, PR 00902-8501
                                                                     BANCO SANTANDER                                                                          LEASE OF MOTOR VEHICLE BMW
                                                                     PO BOX 362589
                                                                     SAN JUAN, PR 00936-2589
                                                                     RELIABLE FINANCIAL                                                                       LEASE OF MOTOR VEHICLE HONDA ODYSSEY
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                                                                     BOX 21382
                                                                     SAN JUAN, PR 00928-1382
                                                                     BANCO BILBAO VIZCAYA ARGENTARIA                                                          LEASE OF MOTOR VEHICLE HYUNDAI
                                                                     PO BOX 364575
                                                                     SAN JUAN, PR 00936-4575
                                                                     AMERICAN HEALTH MEDICARE                                                                 MEDICAL PLAN CONTRACT - PROVIDER
                                                                     ASOCIACION DE MAESTRO                                                                    MEDICAL PLAN CONTRACT - PROVIDER
                                                                     CIGNA PREFERRED                                                                          MEDICAL PLAN CONTRACT - PROVIDER
                                                                     COSVI ADFAN                                                                              MEDICAL PLAN CONTRACT - PROVIDER
                                                                     COSVI MED                                                                                MEDICAL PLAN CONTRACT - PROVIDER
                                                                     CRUZ AZUL DE PR                                                                          MEDICAL PLAN CONTRACT - PROVIDER
                                                                     FIRST PLUS                                                                               MEDICAL PLAN CONTRACT - PROVIDER
                                                                     HUMANA GOLD CHOICE                                                                       MEDICAL PLAN CONTRACT - PROVIDER
                                                                     HUMANA HEALTH PLAN                                                                       MEDICAL PLAN CONTRACT - PROVIDER
                                                                     HUMANA INSURANCE GROUP                                                                   MEDICAL PLAN CONTRACT - PROVIDER
                                                                     INTERNATIONAL MEDICAL CARD                                                               MEDICAL PLAN CONTRACT - PROVIDER
                                                                     PO BOX 144095
                                                                     ARECIBO, PR 00614-4095
                                                                     MAFPRE MEDICARE ADVANTAGE                                                                MEDICAL PLAN CONTRACT - PROVIDER
                                                                     MAPFRE (CANADA LIFE)                                                                     MEDICAL PLAN CONTRACT - PROVIDER
                                                                     MCS                                                                                      MEDICAL PLAN CONTRACT - PROVIDER
                                                                     PMB #154 SUITE 75
                                                                     255 AVE. PONCE DE LEON
                                                                     SAN JUAN, PR 00917-1919
                                                                     MCS CLASSICARE                                                                           MEDICAL PLAN CONTRACT - PROVIDER
                                                                     MCS PREFERRED                                                                            MEDICAL PLAN CONTRACT - PROVIDER
                                                                     MCS REFORMA                                                                              MEDICAL PLAN CONTRACT - PROVIDER
                                                                     MEDICARE (FIRST COAST)                                                                   MEDICAL PLAN CONTRACT - PROVIDER
                                                                     MEDICARE Y MUCHO MAS                                                                     MEDICAL PLAN CONTRACT - PROVIDER
                                                                     PREFERRED HEALTH                                                                         MEDICAL PLAN CONTRACT - PROVIDER
                                                                     PREFERRED MEDICAL CHOICE                                                                 MEDICAL PLAN CONTRACT - PROVIDER
                                                                     PROSSAM PLUS                                                                             MEDICAL PLAN CONTRACT - PROVIDER
                                                                     SALUD DORADA MC                                                                          MEDICAL PLAN CONTRACT - PROVIDER
                                                                            Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6G (Official Form 6G) (12/07) - Cont.
                                                                                                                                                                                      Desc: Main
                                                                                                      Document Page 23 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                             Case No. 09-06817(BKT)
                                                                                                                         Debtor(s)                                                      (If known)

                                                                                              SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                  (Continuation Sheet)
                                                                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                     NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                            STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                        OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                              STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                     TRICARE                                                         MEDICAL PLAN CONTRACT - PROVIDER
                                                                     TRIPLE S OPTIMO                                                 MEDICAL PLAN CONTRACT - PROVIDER
                                                                     TRIPLE S                                                        MEDICAL PLAN CONTRACT - PROVIDER
                                                                     PO BOX 363628
                                                                     SAN JUAN, PR 00936-3628
                                                                     TRIPLE S REFORMA IPA 3                                          MEDICAL PLAN CONTRACT - PROVIDER
                                                                     TRIPLE S REFORMA OTROS IPAS                                     MEDICAL PLAN CONTRACT - PROVIDER
                                                                     TRIPLE S SELECTO IPA 3                                          MEDICAL PLAN CONTRACT - PROVIDER
                                                                     TRIPLE S SELECTO OTROS IPAS                                     MEDICAL PLAN CONTRACT - PROVIDER
                                                                     XEROX CORPORATION                                               PHOTOCOPIER & MAINTENANCE LEASE
                                                                     PO BOX 650361
                                                                     DALLAS, TX 75265-0361
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                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6H (Official Form 6H) (12/07)
                                                                                                                                                                                                                            Desc: Main
                                                                                                       Document Page 24 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                               Case No. 09-06817(BKT)
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR


                                                                     JUAN LUIS CAPARROS GONZALEZ                                                               DORAL BANK
                                                                     BOX 5000                                                                                  PO BOX 71529
                                                                     PMB 426                                                                                   SAN JUAN, PR 00936-8629
                                                                     CAMUY, PR 00627
                                                                                                                                                               DORAL BANK
                                                                                                                                                               PO BOX 71529
                                                                                                                                                               SAN JUAN, PR 00936-8629

                                                                                                                                                               ORIENTAL GROUP
                                                                                                                                                               PO BOX 71578
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                                                                                                                                                               SAN JUAN, PR 00936-8678
                                                                     MARISOL GONZALEZ                                                                          DORAL BANK
                                                                     BOX 5000                                                                                  PO BOX 71529
                                                                     PMB426                                                                                    SAN JUAN, PR 00936-8629
                                                                     CAMUY, PR 00627
                                                                                                                                                               DORAL BANK
                                                                                                                                                               PO BOX 71529
                                                                                                                                                               SAN JUAN, PR 00936-8629

                                                                                                                                                               ORIENTAL GROUP
                                                                                                                                                               PO BOX 71578
                                                                                                                                                               SAN JUAN, PR 00936-8678
                                                                              Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B6 Declaration (Official Form 6 - Declaration) (12/07)
                                                                                                                                                                                                                         Desc: Main
                                                                                                        Document Page 25 of 55
                                                                     IN RE CDT DR. CAPARROS, INC.                                                                                       Case No. 09-06817(BKT)
                                                                                                                              Debtor(s)                                                                                    (If known)

                                                                                                            DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                          sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date:                                               Signature:
                                                                                                                                                                                                                                                      Debtor


                                                                     Date:                                               Signature:
                                                                                                                                                                                                                                        (Joint Debtor, if any)
                                                                                                                                                                                              [If joint case, both spouses must sign.]

                                                                                  DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                          Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                         Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the PRESIDENT                                                           (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the CDT DR. CAPARROS, INC.
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of       24 sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date: September 17, 2009                            Signature: /s/ MARISOL GONZALEZ

                                                                                                                                      MARISOL GONZALEZ
                                                                                                                                                                                                (Print or type name of individual signing on behalf of debtor)

                                                                                  [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                             Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                             Case:09-06817-BKT11 Doc#:25 Filed:09/17/09 Entered:09/17/09 15:53:04
                                                                     B7 (Official Form 7) (12/07)
                                                                                                                                                                                                          Desc: Main
                                                                                                       Document Page 26 of 55
                                                                                                                              United States Bankruptcy Court
                                                                                                                                  District of Puerto Rico

                                                                     IN RE:                                                                                                       Case No. 09-06817(BKT)
                                                                     CDT DR. CAPARROS, INC.                                                                                       Chapter 11
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                     or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                -57,146.00 APRIL 2007 TO MARCH 2008 OPERATION OF BUSINESS
                                                                                 41,018.00 APRIL 2006 TO MARCH 2007 OPERATION OF BUSINESS
                                                                               826,317.48 APRIL 2008 TO AUGUST 2009

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                      ü      two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                             preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                                                                                                          AMOUNT PAID
                                                                                                                                                                                           OR VALUE OF                 AMOUNT
                                                                     NAME AND ADDRESS OF CREDITOR                                     DATE OF PAYMENTS/TRANSFERS                            TRANSFERS              STILL OWING
                                                                     Please See Attached List                                                                                                     0.00                     0.00
                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
                                                                     AND CASE NUMBER                            NATURE OF PROCEEDING                      AND LOCATION                               DISPOSITION
                                                                     MILDRED SANTIAGO, ET. ALS.                 TORTS ACTION ( MAL                        SUPERIOR COURT
                                                                     VS. DEBTOR; CASE NO. LPD                   PRACTICE)
                                                                     2005-0077
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                                                                     HECTOR L. RIVERA VS.                       TORTS ACTION                              SUPERIOR COURT
                                                                     DEBTORL; CASE NO. LPD 2007
                                                                     -0009
                                                                     JOANA MATOS CUEVAS VS.                     TORTS ACTION (MALPRACTICE) SUPERIOR COURT
                                                                     DEBTOR; CASE NO. CDP 2008-
                                                                     0044
                                                                     OLGA MALDONADO VS.                         APPEAL REGARDING CLAIM    SUPERIOR COURT                                             PENDING
                                                                     DEBTOR; CASE NO. A2-D-1-S1-                FILED WITH THE DEPARTMEMT
                                                                     321-06                                     OF LABOR
                                                                     JOSE RIOS BATTISINI VS.                    TORTS ACTION                              SUPERIOR COURT                             PENDING
                                                                     DEBTOR; CASE NO. LAC2003-
                                                                     0126
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                             the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE
                                                                     BENEFIT PROPERTY WAS SEIZED                                      DATE OF SEIZURE                     OF PROPERTY
                                                                     INTERNAL REVENUE SERVICES                                                                            BANK ACCOUNTS
                                                                     PHILADELPHIA, PA 19255-0030

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     FRANCISCO R. MOYA HUFF, ESQ.                                      08-19-2009                                                          10,000.00
                                                                     BANCO POPULAR BLDG., SUITE 401
                                                                     206 TETUAN STREET
                                                                     SAN JUAN, PR 00901-1802

                                                                     10. Other transfers
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                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                      ü      device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.
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                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü
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                                                                             is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                                                                 LAST FOUR DIGITS
                                                                                                                 OF SOCIAL-
                                                                                                                 SECURITY OR OTHER
                                                                                                                 INDIVIDUAL
                                                                                                                 TAXPAYER-I.D. NO.                                                      NATURE OF             BEGINNING AND
                                                                     NAME                                        (ITIN)/COMPLETE EIN ADDRESS                                            BUSINESS              ENDING DATES
                                                                     CENTRO DIAGNOSTICO Y                        XX-XXXXXXX          DR. CAPARROS, INC.                                 DIAGNOSTIC &          DECEMBER 2,
                                                                     TRATAMIENTO                                                     CALLE BETANCES #2                                  TREATMENT             1994
                                                                                                                                     UTUADO, PR 00641                                   CENTER
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
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                                                                     The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
                                                                     six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of more than
                                                                     5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
                                                                     in a trade, profession, or other activity, either full- or part-time.

                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within the six
                                                                     years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go directly to the
                                                                     signature page.)

                                                                     19. Books, records and financial statements
                                                                      None   a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy case kept or supervised the
                                                                             keeping of books of account and records of the debtor.
                                                                     NAME AND ADDRESS                                                 DATES SERVICES RENDERED
                                                                     CPA RAMON VELEZ
                                                                     29 DR. JESUS AMAIZ STREET
                                                                     BDA. COLLAZO
                                                                     VEGA BAJA, PR 00693
                                                                      None   b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
                                                                             and records, or prepared a financial statement of the debtor.
                                                                     NAME AND ADDRESS                                                 DATES SERVICES RENDERED
                                                                     CPA RAMON VELEZ
                                                                     29 DR. JESUS AMAIZ STREET
                                                                     BDA. COLLAZO
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                                                                     VEGA BAJA, PR 00693
                                                                      None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
                                                                             debtor. If any of the books of account and records are not available, explain.
                                                                     NAME AND ADDRESS
                                                                     CPA RAMON VELEZ
                                                                     29 DR. JESUS AMAIZ STREET
                                                                     BDA. COLLAZO
                                                                     VEGA BAJA, PR 00693
                                                                      None   d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial statement was issued
                                                                      ü      within the two years immediately preceding the commencement of the case by the debtor.

                                                                     20. Inventories
                                                                      None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
                                                                             dollar amount and basis of each inventory.
                                                                                                                                                                                 DOLLAR AMOUNT OF INVENTORY
                                                                     DATE OF INVENTORY                                                INVENTORY SUPERVISOR                       (Specify cost, market, or other basis)
                                                                     MAY 23, 2008                                                     MARISOL GONZALEZ                           $525,000
                                                                      None   b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                     DATE OF INVENTORY                                                NAME AND ADDRESS OF CUSTODIAN OF INVENTORY RECORDS
                                                                     MAY 23, 2008                                                     MARISOL GONZALEZ
                                                                                                                                      BOX 5000
                                                                                                                                      PMB426
                                                                                                                                      CAMUY, PR 00627

                                                                     21. Current Partners, Officers, Directors and Shareholders
                                                                      None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
                                                                      ü
                                                                      None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
                                                                             or holds 5 percent or more of the voting or equity securities of the corporation.
                                                                                                                                                                         NATURE AND PERCENTAGE
                                                                     NAME AND ADDRESS                                                 TITLE                              OF STOCK OWNERSHIP
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                                                                     MARISOL GONZALEZ                                                  PRESIDENT                           100%
                                                                     BOX 5000
                                                                     PMB426
                                                                     CAMUY, PR 00627

                                                                     22. Former partners, officers, directors and shareholders
                                                                      None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
                                                                      ü      of this case.

                                                                      None   b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
                                                                      ü      preceding the commencement of this case.

                                                                     23. Withdrawals from a partnership or distributions by a corporation
                                                                      None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
                                                                      ü      bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
                                                                             case.

                                                                     24. Tax Consolidation Group
                                                                      None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
                                                                      ü      purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.

                                                                     25. Pension Funds.
                                                                      None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an employer,
                                                                      ü
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                                                                             has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

                                                                     [If completed on behalf of a partnership or corporation]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct to the best of my knowledge, information, and belief.



                                                                     Date: September 17, 2009                          Signature: /s/ MARISOL GONZALEZ

                                                                                                                                   MARISOL GONZALEZ, PRESIDENT
                                                                                                                                                                                                                       Print Name and Title



                                                                                                [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                                                                                       24 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                            LIST OF ALL CHECKS AND DISBURSMENTS ON ALL ACCOUNTS

   Date     Type       CK Number                 Name                    Amount
5/19/09   Payment     116472       BIO NUCLEAR                               100.00   Laboratory Supplies
5/19/09   Payment     116475       DAYANARA SOTO                             300.00   Professional Services X Ray Technician
5/19/09   Payment     116407       Doral Bank                              4,626.44   Internal Revenue Service 941PR
5/19/09   Receipt     R5-09-29     DORAL BANK POS DEPO                        43.91   Deposit
5/19/09   Payment     DM5-09-19    PRE SOLUCTIONS DE SALES                    18.40   Prepaid Cards Payment
5/19/09   Payment     116471       RAINBOW OPTICAL                           400.00   Optical Jobs
5/19/09   Payment     116470       YOLY INDUSTRIAL SUPPLY, INC.              447.09   Maintenance Supplies
5/20/09   Payment     116484       AUTORIDAD ENERGIA ELECTRICA               300.00   Electric Power Authority- Utilities
5/20/09   Payment     116485       AUTORIDAD ENERGIA ELECTRICA               300.00   Electric Power Authority- Utilities
5/20/09   Payment     116487       Cash                                       10.00   Solicitud Good Standing
5/20/09   Payment     116380       COCA COLA                                 428.16   Pharmacy Supplies
5/20/09   Receipt     R5-09-30     DORAL BANK POS DEPO                        20.00   Deposit
5/20/09   Payment     116474       DRUGS UNLIMITED, INC.                     573.00   Drugs Supplies
5/20/09   Payment     116486       Fia Card Services                         100.00   Corporate Visa
5/20/09   Receipt     R5-09-31     MMM HEALTHCARE DISBURSMNT                  37.86   Claims Health Services Payment
5/20/09   Payment     DM5-09-20    PAGO REGULAR 30020338                   3,328.37   Mortgage Loan
5/20/09   Payment     DM5-09-21    PAGO REGULAR 30023066                  12,741.60   Mortgage Loan
5/20/09   Payment     DM5-09-22    PRE SOLUCTIONS DE SALES                    27.60   Prepaid Cards Payment
5/20/09   Payment     116476       Secretario de Hacienda                  2,911.61   PR Taxes 499-R1
5/21/09   Receipt     R5-09-33     DORAL BANK POS DEPO                        48.90   Deposit
5/21/09   Receipt     R5-09-32     MMM HEALTHCARE DISBURSMNT                  48.56   Claims Health Services Payment
5/22/09   Payment     116501       CRIM                                      477.70   PR Personal Property
5/22/09   Payment     116479       DROGUERIA BETANCES                        269.75   Drugs Supplies
5/22/09   Payment     116480       DROGUERIA CENTRAL                         738.08   Drugs Supplies
5/22/09   Payment     116481       DROGUERIA FMC DISTRIBUTORS                379.91   Drugs Supplies
5/22/09   Payment     116482       DRUGS UNLIMITED, INC.                   1,755.28   Drugs Supplies
5/22/09   Receipt     R5-09-34     MMM HEALTHCARE DISBURSMNT                 302.48   Claims Health Services Payment
5/22/09   Payment     DM5-09-23    PRE SOLUCTIONS DE SALES                    13.65   Prepaid Cards Payment
5/25/09   Payment     1053         Covidean                                  200.00   X-Ray Supplies
5/25/09   Payment     1054         Covidean                                  440.00   X-Ray Supplies
5/25/09   Payment     1055         Covidien                                  115.00   X-Ray Supplies
5/25/09   Payment     116483       DRUGS UNLIMITED, INC.                     687.60   Drugs Supplies
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   Date     Type       CK Number                   Name                  Amount
5/25/09   Payment     1052         LIFE IMAGING                            1,225.00   X-Ray Supplies
5/25/09   Payment     116502       RAMON VELEZ                             2,000.00   Professional Services CPA
5/25/09   Payment     116505       Secretario de Hacienda                  1,594.08   Plan de Pago
5/25/09   Payment     1056         US Treasury                             2,000.00   Internal Revenue Service 941PR
5/26/09   Receipt     R5-03        Deposit                                 2,000.00   Deposit
5/26/09   Receipt     R5-09-3      DORAL BANK POS DEPO                        35.68   Deposit
5/26/09   Receipt     R5-09-36     DORAL BANK POS DEPO                        24.40   Deposit
5/26/09   Receipt     R5-09-37     DORAL BANK POS DEPO                        25.00   Deposit
5/26/09   Payment     116503       DROGUERIA CENTRAL                         272.77   Drugs Supplies
5/26/09   Payment     116504       DRUGS UNLIMITED, INC.                   1,343.21   Drugs Supplies
5/26/09   Receipt     R5-09-35     INMEDIATE AVAILABILITY DEPOSIT          7,711.14   Deposit
5/26/09   Payment     116507       LIBERTY CABLEVISION                       369.00   Cable
5/26/09   Receipt     R5-09-39     MMM HEALTHCARE DISBURSMNT                 892.49   Claims Health Services Payment
5/26/09   Payment     DM5-09-24    PRE SOLUCTIONS DE SALES                    27.20   Prepaid Cards Payment
5/26/09   Payment     116508       PUERTO RICO TELEPHONE                     220.85   Utilities - Telephone
5/26/09   Payment     116509       PUERTO RICO TELEPHONE                     100.00   Utilities - Telephone
5/26/09   Payment     116510       PUERTO RICO TELEPHONE                     100.00   Utilities - Telephone
5/27/09   Payment     116514       ANDA                                      100.00   Drugs Supplies
5/27/09   Payment     116512       ATLANTIC OFFICE SUPPLIES                   19.90   Office Supplies
5/27/09   Payment     116513       Cash                                       61.82
5/27/09   Receipt     R5-04        Deposit                                   700.00   Deposit
5/27/09   Payment     116238       DROGUERIA FMC DISTRIBUTORS                191.01   Drugs Supplies
5/27/09   Receipt     R5-09-40     INMEDIATE AVAILABILITY DEPOSIT          3,245.08   Deposit
5/27/09   Payment     DM5-09-28    PRE SOLUCTIONS DE SALES                     8.80   Prepaid Cards Payment
5/27/09   Payment     116511       PUERTO RICO FLOORS                         25.95   Maintenance Supplies
5/27/09   Payment     116515       RAINBOW OPTICAL                           100.00   Optical Jobs
5/27/09   Payment     DM5-09-27    REGULAR PAYMENT 30020338                  123.28   Mortgage Loan
5/28/09   Receipt     R5-09-42     DORAL BANK POS DEPO                        91.47   Deposit
5/28/09   Receipt     R5-09-41     INMEDIATE AVAILABILITY DEPOSIT         23,915.79   Deposit
5/28/09   Receipt     R5-09-43     MMM HEALTHCARE DISBURSMNT                 184.03   Claims Health Services Payment
5/29/09   Payment     116516       DRUGS UNLIMITED, INC.                     573.00   Drugs Supplies
5/29/09   Payment     DM5-09-31    MONTHLY RENT                              115.00   POS Rent
5/29/09   Payment     DM5-09-29    PRE SOLUCTIONS DE SALES                     8.80   Prepaid Cards Payment
6/1/09    Payment     1057         Abbott                                    180.33   ER Supplies
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   Date     Type        CK Number                   Name               Amount
6/1/09    Payroll Entry116525       Amarilys Perez                         290.20   Payroll
6/1/09    Payroll Entry116526       Ana L. Torres                          422.93   Payroll
6/1/09    Payroll Entry116527       Ana R. Perez                         1,053.82   Payroll
6/1/09    Payroll Entry116528       Ana V. Camacho                         738.85   Payroll
6/1/09    Payroll Entry116529       Andres R. Gonzalez Bonilla             306.47   Payroll
6/1/09    Payroll Entry116530       Angelisa Vazquez                       543.00   Payroll
6/1/09    Payroll Entry116531       Aurimar Soto Molina                    317.06   Payroll
6/1/09    Payroll Entry116532       Awilda Mendez                          576.13   Payroll
6/1/09    Payment 1059              BIO NUCLEAR                            400.00   Laboratory Supplies
6/1/09    Payroll Entry116533       Brenda L. Rodriguez                  1,239.00   Payroll
6/1/09    Payment 116558            BRENDA RODRIGUEZ                        40.00   Professional Services Laboratory
6/1/09    Payroll Entry116534       Carmen C. Rodriguez                    608.17   Payroll
6/1/09    Payroll Entry116559       Carmen Lugo                            393.06   Payroll
6/1/09    Payroll Entry116535       Daysi Maldonado                        397.84   Payroll
6/1/09    Payment DM6-09-02         DEPOSIT DR                              11.65   Deposit
6/1/09    Receipt      R6-09-02     DORAL BANK POS DEPO                     64.50   Deposit
6/1/09    Payment 116561            DR. EDGARDO PEREZ                    2,931.36   Professional Services Physician
6/1/09    Payment 116564            DR. RAFAEL CRUZ TIRADO               2,231.87   Professional Services Physician
6/1/09    Payment 116565            DR. RAFAEL CRUZ TIRADO                 500.00   Employee Benefits
6/1/09    Payment 116562            DRA. MARIA CUAUTLI                   2,557.50   Professional Services Physician
6/1/09    Payment 116521            DROGUERIA BETANCES                     490.78   Drugs Supplies
6/1/09    Payment 1060              DROGUERIA CENTRAL                       50.00   Durable Medical Equipment
6/1/09    Payment 1061              DROGUERIA CENTRAL                      125.00   Durable Medical Equipment
6/1/09    Payment 116519            DROGUERIA CENTRAL                      451.69   Drugs Supplies
6/1/09    Payment 116522            DROGUERIA FMC DISTRIBUTORS              71.37   Drugs Supplies
6/1/09    Payment 116520            DRUGS UNLIMITED, INC.                1,251.80   Drugs Supplies
6/1/09    Payment 1064              F Baragaño                             440.60   Laboratory Supplies
6/1/09    Payment 1065              GENTECH BIO MEDICAL                    303.25   Laboratory Supplies
6/1/09    Payment 116563            Harry G Lugo                           880.00   Professional Services Physician
6/1/09    Payment                   Henry Schein                                    ER Supplies
6/1/09    Payment 1066              Henry Schein                           170.05   ER Supplies
6/1/09    Payment 116523            Henry Schein                           172.71   ER Supplies
6/1/09    Payroll Entry116536       Jahaira Gerena                         283.78   Payroll
6/1/09    Payroll Entry116537       Jeanette Diaz                          657.70   Payroll
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   Date     Type        CK Number                    Name              Amount
6/1/09    Payroll Entry116538       JOSE B. Gonzalez Sanchez             2,104.22   Payroll
6/1/09    Payroll Entry116539       Juan L. Caparros                     1,238.00   Payroll
6/1/09    Payroll Entry116540       KIOMARA VAZQUEZ                        471.05   Payroll
6/1/09    Payment 116567            KIOMARA VAZQUEZ                        200.00   Employee Benefits
6/1/09    Payroll Entry116541       Lisvette Salva                       1,869.32   Payroll
6/1/09    Payment 116566            LISVETTE SALVA PEREZ                   300.00   Employee Benefits
6/1/09    Payroll Entry116542       Liza Hernandez                         350.09   Payroll
6/1/09    Payment 1069              LLORENS PHARMACEUTICAL                 146.70   Drugs Supplies
6/1/09    Payroll Entry116543       LUIS A. GUTIERREZ                      261.36   Payroll
6/1/09    Payroll Entry116544       Luz E. Lopez Santiago                  333.17   Payroll
6/1/09    Payroll Entry116545       Maria L. Rivera Rivera                 809.25   Payroll
6/1/09    Payroll Entry116546       Marisol Gonzalez                     1,238.00   Payroll
6/1/09    Payroll Entry116547       Marisol Lopez                          560.38   Payroll
6/1/09    Payroll Entry116548       Miguel Maldonado                       627.72   Payroll
6/1/09    Payroll Entry116549       Minerva Medina                         364.49   Payroll
6/1/09    Payroll Entry116550       Miriam Rosa                            786.77   Payroll
6/1/09    Receipt      R6-09-01     MMM HEALTHCARE DISBURSMNT                7.51   Claims Health Services Payment
6/1/09    Receipt      R6-09-03     MMM HEALTHCARE DISBURSMNT            1,141.59   Claims Health Services Payment
6/1/09    Payroll Entry116551       Nydia S. Muñoz                         580.49   Payroll
6/1/09    Payment DM6-09-01         PRE SOLUCTIONS DE SALES                  8.80   Prepaid Cards Payment
6/1/09    Payroll Entry116552       Raquel Irizarry Zeda                   208.59   Payroll
6/1/09    Payroll Entry116553       RICHARD J. SERRANO                     187.09   Payroll
6/1/09    Payroll Entry116554       Rosangely Perez                        290.60   Payroll
6/1/09    Payroll Entry116555       Rossie Nevarez                         856.42   Payroll
6/1/09    Payment 116524            Secretario de Hacienda               1,879.61   PR Taxes 480-6B
6/1/09    Payroll Entry116556       Sonia Vazquez                          374.38   Payroll
6/1/09    Payroll Entry116568       Sonia Vazquez                          134.28   Payroll
6/1/09    Payment 1070              Tischer & Co.                          129.60   Servicios Reparacion Ponchador
6/1/09    Payment 1071              XEROX CORPORATION                      323.72   Photocopier Leasing
6/1/09    Payment 1072              XEROX CORPORATION                      323.72   Photocopier Leasing
6/1/09    Payment 1073              XEROX CORPORATION                      323.72   Photocopier Leasing
6/1/09    Payment 1074              XEROX CORPORATION                      323.21   Photocopier Leasing
6/1/09    Payment 1075              XEROX CORPORATION                      323.72   Photocopier Leasing
6/1/09    Payment 1079              XEROX CORPORATION                      126.19   Photocopier Leasing
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   Date     Type        CK Number                   Name               Amount
6/1/09    Payment 1080              XEROX CORPORATION                      126.19   Photocopier Leasing
6/1/09    Payroll Entry116557       Yaritza Matos                          421.52   Payroll
6/1/09    Payment 1081              YOLY INDUSTRIAL SUPPLY, INC.           500.00   Maintenance Supplies
6/2/09    Payment 116578            ANDA                                   100.00   Drugs Supplies
6/2/09    Payment 116569            ATLANTIC OFFICE SUPPLIES               297.50   Office Supplies
6/2/09    Payment 116583            ATLANTIC OFFICE SUPPLIES               268.15   Office Supplies
6/2/09    Payment 116579            Borshow                                500.00   Drugs Supplies
6/2/09    Payment 116581            Central Insurance Finance Corp         880.00   Insurance
6/2/09    Payment 116584            CRIM                                   635.67   PR Personal Property
6/2/09    Payment 116571            Doral Bank                           4,019.62   Payment 941PR
6/2/09    Receipt      R6-09-05     DORAL BANK POS DEPO                     14.07   Deposit
6/2/09    Receipt      R6-09-04     INMEDIATE AVAILABILITY DEPOSIT      28,815.91   Deposit
6/2/09    Payment 116586            PUERTO RICO FLOORS                     108.36   Maintenance Supplies
6/2/09    Payment 116587            PUERTO RICO FLOORS                      22.79   Maintenance Supplies
6/2/09    Payment 116582            RAIMUNDO RIVERA PEREZ                  372.00   Professional Services Laboratory
6/2/09    Payment 116570            Secretario de Hacienda               2,327.29   PR Taxes 499-R1 2QT 2009
6/2/09    Payment 116585            UMECO                                  226.00   ER Supplies
6/3/09    Receipt      R6-09-06     DORAL BANK POS DEPO                     30.00   Deposit
6/3/09    Payment DM6-09-03         PRE SOLUCTIONS DE SALES                  8.80   Prepaid Cards Payment
6/4/09    Receipt      R6-09-08     DORAL BANK POS DEPO                    322.27   Deposit
6/4/09    Payment 116598            DR. MANUEL MEDINA                    4,883.00   Professional Services Radiologist
6/4/09    Payment 116573            DROGUERIA BETANCES                     183.30   Drugs Supplies
6/4/09    Payment 116574            DROGUERIA CENTRAL                      867.03   Drugs Supplies
6/4/09    Payment 116576            DROGUERIA FMC DISTRIBUTORS             259.17   Drugs Supplies
6/4/09    Payment 116575            DRUGS UNLIMITED, INC.                  947.50   Drugs Supplies
6/4/09    Receipt      R6-09-07     MMM HEALTHCARE DISBURSMNT               76.89   Claims Health Services Payment
6/4/09    Payment DM6-09-04         PRE SOLUCTIONS DE SALES                 18.40   Prepaid Cards Payment
6/4/09    Payment 116597            UMECO                                  115.56   ER Supplies
6/4/09    Payment 116599            W.G. GROUP                             159.11   Pharmacy Supplies
6/5/09    Payment 116588            ANDA                                   100.00   Drugs Supplies
6/5/09    Payment 116608            ANDA                                   100.00   Drugs Supplies
6/5/09    Payment DM6-09-07         AT&T                                   193.37   Utilities - Telephone
6/5/09    Payment 116600            AUTORIDAD ENERGIA ELECTRICA            500.00   Electric Power Authority- Utilities
6/5/09    Payment 116601            AUTORIDAD ENERGIA ELECTRICA            300.00   Electric Power Authority- Utilities
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   Date     Type       CK Number                   Name                  Amount
6/5/09    Payment     116602       AUTORIDAD ENERGIA ELECTRICA               154.06   Electric Power Authority- Utilities
6/5/09    Payment     116606       BIO NUCLEAR                               100.00   Laboratory Supplies
6/5/09    Payment     116612       CDT DR. CAPARROS                          100.00   Reserve Account Banco Popular
6/5/09    Payment     DM6-09-08    DORAL BANK MTG PYMT 0070037275          1,376.11   Mortgage Loan
6/5/09    Receipt     R6-09-10     DORAL BANK POS DEPO                       143.16   Deposit
6/5/09    Payment     116591       DROGUERIA BETANCES                        131.93   Drugs Supplies
6/5/09    Payment     116589       DROGUERIA CENTRAL                         333.02   Drugs Supplies
6/5/09    Payment     116590       DROGUERIA FMC DISTRIBUTORS                141.77   Drugs Supplies
6/5/09    Payment     116592       DRUGS UNLIMITED, INC.                   1,901.71   Drugs Supplies
6/5/09    Payment     116605       LIFE IMAGING                              603.68   X-Ray Supplies
6/5/09    Receipt     R6-09-09     MMM HEALTHCARE DISBURSMNT                  73.21   Claims Health Services Payment
6/5/09    Payment     DM6-09-06    PRE SOLUCTIONS DE SALES                    36.40   Prepaid Cards Payment
6/5/09    Payment     116594       PUERTO RICO HOSPITAL SUPPLY             1,022.17   ER Supplies
6/5/09    Payment     116609       QUEST DIAGNOSTICS                         200.00   Laboratory Reference
6/5/09    Payment     116607       RANDOX DE PUERTO RICO                     100.00   Laboratory Supplies
6/5/09    Payment     116610       Secretario de Hacienda                      7.98   Dissability PR
6/5/09    Payment     116611       Secretario de Hacienda                     30.66   "Desempleo" PR
6/5/09    Payment     116595       VICTORIA MEDICAL                           60.08   Drugs Supplies
6/8/09    Payment     1058         Abbott                                    491.55   ER Supplies
6/8/09    Payment     116616       CRIM                                      500.00   PR Personal Property
6/8/09    Receipt     R6-09-12     DORAL BANK POS DEPO                        10.00   Deposit
6/8/09    Receipt     R6-09-13     DORAL BANK POS DEPO                        15.00   Deposit
6/8/09    Receipt     R6-09-14     DORAL BANK POS DEPO                        30.90   Deposit
6/8/09    Payment     1062         DROGUERIA CENTRAL                         250.00   Durable Medical Equipment
6/8/09    Payment     1063         DROGUERIA CENTRAL                         250.00   Durable Medical Equipment
6/8/09    Payment     1067         Henry Schein                              172.71   ER Supplies
6/8/09    Payment     116604       Henry Schein                               50.00   ER Supplies
6/8/09    Receipt     R6-09-11     INMEDIATE AVAILABILITY DEPOSIT          5,504.54   Deposit
6/8/09    Payment     1068         LAB PATOLOGIA DR. NOY                      30.00   Laboratory Reference
6/8/09    Receipt     R6-09-15     MMM HEALTHCARE DISBURSMNT                  70.08   Claims Health Services Payment
6/8/09    Payment     116517       Municipio de Utuado                        24.13   Ivu Municipal
6/8/09    Payment     DM6-09-09    PRE SOLUCTIONS DE SALES                    22.00   Prepaid Cards Payment
6/8/09    Payment     116613       RANDOX DE PUERTO RICO                     653.15   Laboratory Supplies
6/8/09    Payment     116518       Secretario de Hacienda                    154.00   Ivu Estatal
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6/8/09    Payment     1076         XEROX CORPORATION                         126.19   Photocopier Leasing
6/8/09    Payment     1077         XEROX CORPORATION                         126.19   Photocopier Leasing
6/8/09    Payment     1078         XEROX CORPORATION                         126.19   Photocopier Leasing
6/9/09    Payment     DM6-09-10    ALAMBRICA PPAY WLIN 8944172774            171.01   Utilities - Telephone
6/9/09    Payment     116577       BENITEZ INSURANCE                         310.00   Bond Power Electric Authority Deposit
6/9/09    Payment     116580       Borshow                                   500.00   Drugs Supplies
6/9/09    Payment     116621       CLARA MORALES                           1,109.39   Medical Billing Services
6/9/09    Receipt     R6-09-16     DORAL BANK POS DEPO                        56.00   Deposit
6/9/09    Payment     DM6-09-11    PAYMENT TO MORTGAGE                    12,741.60   Mortgage Loan
6/10/09   Payment     116627       ANDA                                      500.00   Drugs Supplies
6/10/09   Payment     116617       BIO NUCLEAR                               100.00   Laboratory Supplies
6/10/09   Payment     116618       CRIM                                      500.00   PR Personal Property
6/10/09   Payment     116506       DROGUERIA BETANCES                        178.35   Drugs Supplies
6/10/09   Payment     116615       DROGUERIA CENTRAL                         451.43   Drugs Supplies
6/10/09   Payment     116560       DROGUERIA FMC DISTRIBUTORS                144.00   Drugs Supplies
6/10/09   Payment     116614       DRUGS UNLIMITED, INC.                   1,600.31   Drugs Supplies
6/10/09   Payment     116628       LLORENS PHARMACEUTICAL                     70.00   Drugs Supplies
6/10/09   Receipt     R6-09-17     MMM HEALTHCARE DISBURSMNT                 381.44   Claims Health Services Payment
6/10/09   Payment     DM6-09-12    PRE SOLUCTIONS DE SALES                    45.60   Prepaid Cards Payment
6/10/09   Payment     116622       RANDOX DE PUERTO RICO                   1,057.63   Laboratory Supplies
6/10/09   Payment     116634       RANDOX DE PUERTO RICO                     107.00   Laboratory Supplies
6/10/09   Payment     116619       Spy Tech                                  380.35   Security Cams Services
6/10/09   Payment     116727       SUAREZ TOY HOUSE                          159.95   Pharmacy Supplies
6/10/09   Payment     116629       XEROX CORPORATION                         126.19   Photocopier Leasing
6/10/09   Payment     116630       XEROX CORPORATION                         126.19   Photocopier Leasing
6/10/09   Payment     116631       XEROX CORPORATION                         126.19   Photocopier Leasing
6/10/09   Payment     116632       XEROX CORPORATION                         126.19   Photocopier Leasing
6/10/09   Payment     116633       XEROX CORPORATION                         129.19   Photocopier Leasing
6/11/09   Receipt     R6-09-19     1660555677 PAYABLES CIPA 00003        130,173.41   Capitation Triple S
6/11/09   Payment     116645       AAA                                       167.70   Utilities - AAA
6/11/09   Payment     116646       AAA                                        74.13   Utilities - AAA
6/11/09   Payment     116647       AAA                                       458.28   Utilities - AAA
6/11/09   Payment     116638       ANDA                                      500.00   Drugs Supplies
6/11/09   Payment     116642       ATLANTIC OFFICE SUPPLIES                   32.60   Office Supplies
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6/11/09   Payment     116643       ATLANTIC OFFICE SUPPLIES                   44.70   Office Supplies
6/11/09   Payment     116644       ATLANTIC OFFICE SUPPLIES                   68.00   Office Supplies
6/11/09   Payment     116648       AUTORIDAD ENERGIA ELECTRICA               100.00   Electric Power Authority- Utilities
6/11/09   Payment     116649       AUTORIDAD ENERGIA ELECTRICA               492.77   Electric Power Authority- Utilities
6/11/09   Payment     116650       AUTORIDAD ENERGIA ELECTRICA               220.15   Electric Power Authority- Utilities
6/11/09   Payment     116651       BBVA Banco                                240.30   Auto Loan
6/11/09   Payment     116652       BIO NUCLEAR                                90.42   Laboratory Supplies
6/11/09   Payment     116655       DORAL                                     629.74   Mortage
6/11/09   Receipt     R6-09-18     DORAL BANK POS DEPO                       123.75   Deposit
6/11/09   Payment     116654       DR. MANUEL MEDINA                       2,000.00   Professional Services Radiologist
6/11/09   Payment     116653       DROGUERIA BORSCHOW                        100.00   Drugs Supplies
6/11/09   Payment     116657       ERNESTO RUIZ                              600.00   Rent
6/11/09   Payment     116658       ERNESTO RUIZ                              600.00   Rent
6/11/09   Payment     116656       FIA CARD SERVICES                         200.00   Corporate Visa
6/11/09   Payment     116659       HUGO CANCEL                               100.00   Rent
6/11/09   Payment     116660       HUGO CANCEL                               100.00   Rent
6/11/09   Payment     116636       JONHY RODRIGUEZ                           397.50   Pharmacy Supplies
6/11/09   Payment     116661       MORENO COMPUTER                           232.72   Pharmacy Software
6/11/09   Payment     116662       ORIENTAL GROUP                            645.24   Mortage
6/11/09   Payment     116663       POPULAR AUTO                              187.10   Printer Leasing
6/11/09   Payment     116664       POPULAR AUTO                              819.08   Laboratory Equipment Leasing
6/11/09   Payment     116639       Post Master                                44.00   Postage
6/11/09   Payment     DM6-09-15    PRE SOLUCTIONS DE SALES                    17.90   Prepaid Cards Payment
6/11/09   Payment     116666       PUERTO RICO TELEPHONE                     105.80   Utilities - Telephone
6/11/09   Payment     116667       PUERTO RICO TELEPHONE                     110.66   Utilities - Telephone
6/11/09   Payment     116668       PUERTO RICO TELEPHONE                     114.51   Utilities - Telephone
6/11/09   Payment     116669       PUERTO RICO TELEPHONE                     322.74   Utilities - Telephone
6/11/09   Payment     116670       PUERTO RICO TELEPHONE                     330.87   Utilities - Telephone
6/11/09   Payment     116671       PUERTO RICO TELEPHONE                      64.94   Utilities - Telephone
6/11/09   Payment     116672       RAINBOW OPTICAL                         1,964.76   Optical Jobs
6/11/09   Payment     116673       RANDOX DE PUERTO RICO                     100.00   Laboratory Supplies
6/11/09   Payment     116635       Secretario de Hacienda                  1,594.08   Plan de Pago
6/11/09   Payment     116674       STERICYCLE INC                            200.00   Biomedical Waste
6/11/09   Payment     116675       TLD DE P.R.                                71.60   Utilities - Telephone
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   Date     Type        CK Number                   Name           Amount
6/11/09   Payment 116676            XEROX CORPORATION                  126.19     Photocopier Leasing
6/11/09   Payment 116677            XEROX CORPORATION                  126.19     Photocopier Leasing
6/11/09   Payment 116678            XEROX CORPORATION                  126.19     Photocopier Leasing
6/11/09   Payment 116679            XEROX CORPORATION                  126.19     Photocopier Leasing
6/11/09   Payment 116680            XEROX CORPORATION                  126.19     Photocopier Leasing
6/11/09   Payment 116681            YOLY INDUSTRIAL SUPPLY, INC.       128.82     Photocopier Leasing
6/12/09   Payment 116390            DROGUERIA BORSCHOW               3,622.00     Drugs Supplies
6/12/09   Payment 116596            ERNESTO RUIZ                       565.83     Rent
6/12/09   Receipt      R6-09-20     MMM HEALTHCARE DISBURSMNT          158.66     Claims Health Services Payment
6/12/09   Payment DM6-09-16         PRE SOLUCTIONS DE SALES             18.00     Prepaid Cards Payment
6/12/09   Payment 116741            PUERTO RICO FLOORS                  48.74     Maintenance Supplies
6/15/09   Payment 116682            ANDA                               500.00     Drugs Supplies
6/15/09   Payment 116683            ANDA                                95.44     Drugs Supplies
6/15/09   Payment DM6-09-20         BANCO SANTANDER LOAN PYMT 0070   1,739.98     Auto Loan
6/15/09   Payment 116735            BRENDA RODRIGUEZ                   100.00     Professional Services Laboratory
6/15/09   Payment 116733            DAYANARA SOTO                      289.76     Professional Services X Ray Technician
6/15/09   Receipt      R6-09-21     DORAL BANK POS DEPO             32,347.66     Deposit
6/15/09   Receipt      R6-09-24     DORAL BANK POS DEPO                146.46     Deposit
6/15/09   Payment 116738            DR. DAMACIO PAGAN RODRIGUEZ      1,973.92     Professional Services Physician
6/15/09   Payment 116736            Dr. Pedro Arias                  1,729.80     Professional Services Physician
6/15/09   Payment 116737            Harry G Lugo                     2,989.95     Professional Services Physician
6/15/09   Payment DM6-09-18         INMEDIATA HEALTH                    76.50     Billing Software
6/15/09   Payment 116739            Lcda. Lisandra Suárez González     100.00     Professional Services Laboratory
6/15/09   Payment 116734            LIC. MARGARITA TORRES              465.00     Professional Services Laboratory
6/15/09   Payment 116732            MIRIAM ROSA                         70.00     Professional Services Nursing
6/15/09   Receipt      R6-09-22     MMM HEALTHCARE DISBURSMNT           70.08     Claims Health Services Payment
6/15/09   Receipt      R6-09-23     MMM HEALTHCARE DISBURSMNT          105.08     Claims Health Services Payment
6/15/09   Receipt      R6-09-25     MMM HEALTHCARE DISBURSMNT          254.66     Claims Health Services Payment
6/15/09   Payment 116731            NYDIA MUÑOZ                        105.00     Professional Services Nursing
6/15/09   Payment DM6-09-17         PRE SOLUCTIONS DE SALES              9.20     Prepaid Cards Payment
6/16/09   Payroll Entry116687       Amarilys Perez                     319.44     Payroll
6/16/09   Payroll Entry116688       Ana L. Torres                      545.49     Payroll
6/16/09   Payroll Entry116689       Ana R. Perez                     1,338.70     Payroll
6/16/09   Payroll Entry116690       Ana V. Camacho                     767.46     Payroll
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   Date     Type        CK Number                    Name              Amount
6/16/09   Payroll Entry116691       Andres R. Gonzalez Bonilla             312.03   Payroll
6/16/09   Payroll Entry116692       Angelisa Vazquez                       602.54   Payroll
6/16/09   Payroll Entry116693       Aurimar Soto Molina                    317.06   Payroll
6/16/09   Payroll Entry116694       Awilda Mendez                          745.54   Payroll
6/16/09   Payroll Entry116695       Brenda L. Rodriguez                  1,239.00   Payroll
6/16/09   Payroll Entry116696       Carmen C. Rodriguez                    658.81   Payroll
6/16/09   Payroll Entry116697       Carmen Lugo                            313.66   Payroll
6/16/09   Payroll Entry116698       Daysi Maldonado                        349.09   Payroll
6/16/09   Receipt      R6-09-26     DORAL BANK POS DEPO                     35.00   Deposit
6/16/09   Payment 116721            DRA. MARIA CUAUTLI                   2,557.50   Professional Services Physician
6/16/09   Payment 116686            DROGUERIA BETANCES                     514.51   Drugs Supplies
6/16/09   Payment 116685            DROGUERIA CENTRAL                      217.50   Drugs Supplies
6/16/09   Payment 116684            DRUGS UNLIMITED, INC.                1,750.14   Drugs Supplies
6/16/09   Payment 116740            Harry G Lugo                         1,395.00   Professional Services Physician
6/16/09   Payroll Entry116699       Jahaira Gerena                         317.21   Payroll
6/16/09   Payroll Entry116700       Jeanette Diaz                          775.77   Payroll
6/16/09   Payroll Entry116701       JOSE B. Gonzalez Sanchez             2,104.22   Payroll
6/16/09   Payroll Entry116702       Juan L. Caparros                     1,238.00   Payroll
6/16/09   Payroll Entry116703       KIOMARA VAZQUEZ                        505.29   Payroll
6/16/09   Payroll Entry116718       Lisvette Salva                       1,826.59   Payroll
6/16/09   Payroll Entry116723       Liza Hernandez                         372.38   Payroll
6/16/09   Payroll Entry116704       LUIS A. GUTIERREZ                      294.78   Payroll
6/16/09   Payroll Entry116705       Luz E. Lopez Santiago                  278.15   Payroll
6/16/09   Payroll Entry116726       Luz E. Lopez Santiago                  449.45   Payroll
6/16/09   Payroll Entry116706       Maria L. Rivera Rivera                 795.29   Payroll
6/16/09   Payroll Entry116707       Marisol Gonzalez                     1,238.00   Payroll
6/16/09   Payroll Entry116708       Marisol Lopez                          673.62   Payroll
6/16/09   Payroll Entry116709       Miguel Maldonado                       582.40   Payroll
6/16/09   Payroll Entry116710       Minerva Medina                         389.58   Payroll
6/16/09   Payroll Entry116711       Miriam Rosa                            776.51   Payroll
6/16/09   Payroll Entry116722       Nydia S. Muñoz                         668.86   Payroll
6/16/09   Payment DM6-09-21         PRE SOLUCTIONS DE SALES                 27.60   Prepaid Cards Payment
6/16/09   Payroll Entry116712       Raquel Irizarry Zeda                   349.26   Payroll
6/16/09   Payroll Entry116713       RICHARD J. SERRANO                     203.79   Payroll
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   Date     Type        CK Number                  Name                Amount
6/16/09   Payroll Entry116719       RICHARD J. SERRANO                     120.24   Payroll
6/16/09   Payroll Entry116714       Rosangely Perez                        317.06   Payroll
6/16/09   Payroll Entry116715       Rossie Nevarez                         856.42   Payroll
6/16/09   Payroll Entry116716       Sonia Vazquez                          477.48   Payroll
6/16/09   Payroll Entry116717       Yaritza Matos                          439.62   Payroll
6/17/09   Payment 116620            COCA COLA                              363.62   Pharmacy Supplies
6/17/09   Payment 116724            Doral Bank                           4,222.40   Payment 941PR 2QT 2009
6/17/09   Receipt      R6-09-27     DORAL BANK POS DEPO                     32.55   Deposit
6/17/09   Payment 116624            DROGUERIA CENTRAL                      188.91   Drugs Supplies
6/17/09   Payment 116623            DROGUERIA FMC DISTRIBUTORS             155.52   Drugs Supplies
6/17/09   Payment 116625            DRUGS UNLIMITED, INC.                1,654.23   Drugs Supplies
6/17/09   Payment 116637            LIFE IMAGING                           348.84   X Rays Supplies
6/17/09   Receipt      R6-09-28     MMM HEALTHCARE DISBURSMNT              137.81   Claims Health Services Payment
6/17/09   Payment 116640            PRAXAIR PUERTO RICO                    334.50   ER Supplies
6/17/09   Payment 116593            PUERTO RICO HOSPITAL SUPPLY            578.12   ER Supplies
6/17/09   Payment 116725            PUERTO RICO HOSPITAL SUPPLY            416.70   ER Supplies
6/18/09   Payment 116749            CASH                                    40.00   Professional Services Pharmacy
6/18/09   Receipt      R6-09-30     DORAL BANK POS DEPO                     37.63   Deposit
6/18/09   Payment 116626            DROGUERIA BETANCES                     537.43   Drugs Supplies
6/18/09   Payment 116758            DRUGS UNLIMITED, INC.                2,008.68   Drugs Supplies
6/18/09   Receipt      R6-09-29     INMEDIATE AVAILABILITY DEPOSIT       8,319.19   Deposit
6/18/09   Payment 116755            Lab. Caribbean Medical Testing       2,718.56   Laboratory Reference
6/18/09   Payment DM6-09-23         PRE SOLUCTIONS DE SALES                 18.40   Prepaid Cards Payment
6/19/09   Payment 116761            DRA. MARIA CUAUTLI                     921.30   Employee Benefits
6/19/09   Payment 116744            DROGUERIA CENTRAL                      711.17   Drugs Supplies
6/19/09   Payment 116746            DROGUERIA FMC DISTRIBUTORS             514.91   Drugs Supplies
6/19/09   Payment 116745            DRUGS UNLIMITED, INC.                2,008.68   Drugs Supplies
6/19/09   Receipt      R6-09-31     MMM HEALTHCARE DISBURSMNT              181.17   Claims Health Services Payment
6/19/09   Receipt      R6-09-32     MMM HEALTHCARE DISBURSMNT              229.15   Claims Health Services Payment
6/19/09   Payment DM6-09-24         PRE SOLUCTIONS DE SALES                 31.64   Prepaid Cards Payment
6/22/09   Payment 116762            ANDA                                   400.00   Drugs Supplies
6/22/09   Payment 116766            CITI FINANCIAL RETAIL SERVICE          157.00   Air Conditioner for Pharmacy
6/22/09   Payment 116763            COLEGIO TECNOLOGOS                     208.00   Laboratory Postage
6/22/09   Receipt      R6-09-33     DORAL BANK POS DEPO                     20.00   Deposit
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   Date     Type       CK Number                     Name                Amount
6/22/09   Receipt     R6-09-35     DORAL BANK POS DEPO                        74.56   Deposit
6/22/09   Payment     116730       DR. EDGARDO PEREZ                       3,281.97   Professional Services Physician
6/22/09   Payment     116767       LIFE IMAGING                              143.80   X Rays Supplies
6/22/09   Receipt     R6-09-34     MMM HEALTHCARE DISBURSMNT                  68.72   Claims Health Services Payment
6/23/09   Payment     116765       CLARA MORALES                           1,868.71   Billing Services
6/23/09   Payment     116743       Doral Bank                                101.22   Payment 941PR 2QT 2009
6/23/09   Payment     116752       DROGUERIA CENTRAL                         289.46   Drugs Supplies
6/23/09   Payment     116754       DRUGS UNLIMITED, INC.                   1,567.58   Drugs Supplies
6/23/09   Payment     116764       IVETTE RODRIGUEZ                          223.20   Professional Services Pharmacy
6/23/09   Payment     DM6-09-25    PRE SOLUCTIONS DE SALES                     9.20   Prepaid Cards Payment
6/23/09   Payment     116779       RAMON VELEZ                             1,310.00   Professional Services CPA
6/24/09   Payment     116776       ATLANTIC OFFICE SUPPLIES                  112.35   Office Supplies
6/24/09   Payment     116750       DR. MANUEL MEDINA                       1,936.00   Professional Services Radiologist
6/24/09   Receipt     R6-09-36     MMM HEALTHCARE DISBURSMNT                 181.36   Claims Health Services Payment
6/24/09   Receipt     R6-09-37     MMM HEALTHCARE DISBURSMNT                 247.55   Claims Health Services Payment
6/24/09   Payment     116775       Post Master                                44.00   Postage
6/24/09   Payment     DM6-09-26    PRE SOLUCTIONS DE SALES                     8.20   Prepaid Cards Payment
6/24/09   Payment     116772       PUERTO RICO FLOORS                         51.90   Maintenance Supplies
6/24/09   Payment     116780       Secretario de Hacienda                  2,501.22   PR Taxes 499-R1 2QT 2009
6/24/09   Payment     1082         US Treasur                              2,000.00   Internal Revenue Service 941PR
6/25/09   Payment     116784       BIO NUCLEAR                               215.00   Laboratory Supplies
6/25/09   Receipt     R6-09-39     DORAL BANK POS DEPO                       164.00   Deposit
6/25/09   Payment     DM6-09-29    INMEDIATA HEALTH                          490.00   Billing Software
6/25/09   Receipt     R6-09-38     MMM HEALTHCARE DISBURSMNT                 122.57   Claims Health Services Payment
6/25/09   Payment     DM6-09-27    PRE SOLUCTIONS DE SALES                    18.40   Prepaid Cards Payment
6/26/09   Payment     116770       Corporacion Fondo de Seguro de          6,741.47   Employees Insurance
6/26/09   Receipt     R6-09-40     DORAL BANK POS DEPO                        83.68   Deposit
6/26/09   Payment     116751       DROGUERIA FMC DISTRIBUTORS                625.11   Drugs Supplies
6/26/09   Payment     116769       DRUGS UNLIMITED, INC.                     993.20   Drugs Supplies
6/26/09   Payment     116782       DRUGS UNLIMITED, INC.                   1,382.00   Drugs Supplies
6/26/09   Payment     116781       Lcda. Iris M. Ortiz Morales             1,120.00   Professional Services Pharmacy
6/26/09   Payment     DM6-09-31    PRE SOLUCTIONS DE SALES                    45.60   Prepaid Cards Payment
6/29/09   Payment     116771       Crim                                      500.00   PR Personal Property
6/29/09   Receipt     R6-09-41     DORAL BANK POS DEPO                        20.00   Deposit
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   Date     Type        CK Number                   Name               Amount
6/29/09   Receipt      R6-09-42     DORAL BANK POS DEPO                    110.53   Deposit
6/29/09   Payment 116785            GENTECH BIO MEDICAL                  1,053.25   Laboratory Equipment Services
6/29/09   Payment DM6-09-32         PAYMENT TOMORTGAGE                   3,205.10   Mortgage Loan
6/30/09   Payment 116783            DROGUERIA BETANCES                     928.36   Drugs Supplies
6/30/09   Payment 116852            DROGUERIA BETANCES                     264.07   Drugs Supplies
6/30/09   Payment 116778            DROGUERIA FMC DISTRIBUTORS             607.27   Drugs Supplies
6/30/09   Payment 116853            DROGUERIA FMC DISTRIBUTORS             495.00   Drugs Supplies
6/30/09   Payment 116777            DRUGS UNLIMITED, INC.                  537.07   Drugs Supplies
6/30/09   Payment 116854            DRUGS UNLIMITED, INC.                1,945.94   Drugs Supplies
6/30/09   Payment 116801            ISLA LAB                               252.71   Laboratory Supplies
6/30/09   Payment DM6-09-34         MONTHLY RENT                           115.00   POS Rent
6/30/09   Payment DM6-09-33         PAGO REGULAR 3002003066             12,741.60   Mortgage Loan
7/1/09    Payroll Entry116802       Amarilys Perez                         382.12   Payroll
7/1/09    Payroll Entry116803       Ana L. Torres                          509.28   Payroll
7/1/09    Payroll Entry116804       Ana R. Perez                         1,273.02   Payroll
7/1/09    Payroll Entry116805       Ana V. Camacho                         691.86   Payroll
7/1/09    Payroll Entry116806       Andres R. Gonzalez Bonilla             348.25   Payroll
7/1/09    Payroll Entry116807       Angelisa Vazquez                       592.86   Payroll
7/1/09    Payroll Entry116808       Aurimar Soto Molina                    333.77   Payroll
7/1/09    Payroll Entry116809       Awilda Mendez                          624.79   Payroll
7/1/09    Payment 116862            BIO NUCLEAR                            200.00   Laboratory Supplies
7/1/09    Payroll Entry116810       Brenda L. Rodriguez                  1,239.00   Payroll
7/1/09    Payment 116839            BRENDA RODRIGUEZ                        40.00   Employees Benefits
7/1/09    Payroll Entry116811       Carmen C. Rodriguez                    667.68   Payroll
7/1/09    Payroll Entry116812       Carmen Lugo                            298.34   Payroll
7/1/09    Payroll Entry116813       Daysi Maldonado                        439.62   Payroll
7/1/09    Payment 116836            DR. EDGARDO PEREZ                    3,115.50   Professional Services Physician
7/1/09    Payment 116863            Dr. Guadalupe Santiago Santiag         542.30   Professional Services Physician
7/1/09    Payment 116865            Dr. Jose M Ortega Velez                542.30   Professional Services Physician
7/1/09    Payment 116867            DR. LUIS PEREZ PEREZ                   542.30   Professional Services Physician
7/1/09    Payment 116864            Dr. Miguel A Roman Pagan               542.30   Professional Services Physician
7/1/09    Payment 116866            DR. TOMAS TALAVERA                     542.30   Professional Services Physician
7/1/09    Payment 116841            DRA. MARIA CUAUTLI                   2,557.50   Professional Services Physician
7/1/09    Payment 116840            Harry G Lugo                         1,395.00   Professional Services Physician
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   Date     Type        CK Number                    Name              Amount
7/1/09    Payroll Entry116814       Jahaira Gerena                         370.14   Payroll
7/1/09    Payroll Entry116815       Jeanette Diaz                          811.97   Payroll
7/1/09    Payroll Entry116816       JOSE B. Gonzalez Sanchez             1,001.71   Payroll
7/1/09    Payroll Entry116817       Juan L. Caparros                     1,238.00   Payroll
7/1/09    Payroll Entry116818       KIOMARA VAZQUEZ                        487.42   Payroll
7/1/09    Payment 116837            KIOMARA VAZQUEZ                        200.00   Employees Benefits
7/1/09    Payroll Entry116819       Lisvette Salva                       1,749.13   Payroll
7/1/09    Payment 116838            LISVETTE SALVA PEREZ                   300.00   Employees Benefits
7/1/09    Payroll Entry116820       Liza Hernandez                         372.38   Payroll
7/1/09    Payroll Entry116821       LUIS A. GUTIERREZ                      214.00   Payroll
7/1/09    Payroll Entry116822       Maria L. Rivera Rivera                 797.43   Payroll
7/1/09    Payroll Entry116823       Marisol Gonzalez                     1,238.00   Payroll
7/1/09    Payroll Entry116824       Marisol Lopez                          595.41   Payroll
7/1/09    Payroll Entry116825       Miguel Maldonado                       592.86   Payroll
7/1/09    Payroll Entry116826       Minerva Medina                         423.70   Payroll
7/1/09    Payroll Entry116827       Miriam Rosa                            824.02   Payroll
7/1/09    Payroll Entry116828       Nydia S. Muñoz                         576.80   Payroll
7/1/09    Payment 116798            PUERTO RICO FLOORS                      51.90   Maintenance Supplies
7/1/09    Payroll Entry116829       Raquel Irizarry Zeda                   286.58   Payroll
7/1/09    Payroll Entry116830       Rosangely Perez                        119.59   Payroll
7/1/09    Payroll Entry116834       Rosangely Perez                        317.06   Payroll
7/1/09    Payroll Entry116831       Rossie Nevarez                         856.42   Payroll
7/1/09    Payment 116842            Secretario de Hacienda                 135.83   PR Taxes 499-R1 2QT 2009
7/1/09    Payment 116858            Secretario de Hacienda               2,009.92   PR Taxes 480-6B
7/1/09    Payroll Entry116832       Sonia Vazquez                          469.14   Payroll
7/1/09    Payroll Entry116835       Sonia Vazquez                          134.28   Payroll
7/1/09    Payroll Entry116833       Yaritza Matos                          402.72   Payroll
7/2/09    Payment 116872            BBVA Banco                             240.30   Auto Loan
7/2/09    Payment 116861            Central Insurance Finance Corp         880.00   Insurance
7/2/09    Payment 116869            DORAL                                  629.74   Mortgage Loan
7/2/09    Payment 116859            DORAL BANK                           3,848.02   Payment 941PR 3QT 2009
7/2/09    Payment 116875            Laboratorio Clinico Toledo, In       1,684.00   Laboratory Reference
7/2/09    Payment 116870            ORIENTAL GROUP                         673.00   Mortgage Loan
7/2/09    Payment 116873            POPULAR AUTO                           196.46   Printers Leasing
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   Date     Type       CK Number                     Name                Amount
7/2/09    Payment     116874       POPULAR AUTO                              860.03   Laboratory Equipment Leasing
7/2/09    Payment     116871       RELIABLE FINANCIAL SERVICES               554.40   Auto Loan
7/2/09    Payment     116860       SECRETARIO DE HACIENDA                  1,913.54   PR Taxes 499-R1 3QT 2009
7/3/09    Payment     116846       Doral Bank                                516.25   Payment 940PR 2QT 2009
7/3/09    Payment     116843       Lcda. Iris M. Ortiz Morales             1,328.60   Professional Services Pharmacy
7/3/09    Payment     116878       OK PRINTING                                26.75   Office Supplies
7/3/09    Payment     116883       QUALITY LABELS                            205.00   Pharmacy Supplies
7/3/09    Payment     116844       Secretario de Hacienda                  3,484.71   PR Desempleo 2QT 2009
7/3/09    Payment     116845       Secretario de Hacienda                    509.15   PR Dissability 2QT 2009
7/6/09    Payment     116753       DR. RAFAEL CRUZ TIRADO                  2,231.87   Professional Services Physician
7/6/09    Payment     116787       DR. RAFAEL CRUZ TIRADO                  2,231.87   Professional Services Physician
7/6/09    Payment     116851       DR. RAFAEL CRUZ TIRADO                    500.00   Employees Benefits
7/6/09    Payment     116890       DROGUERIA BETANCES                        860.09   Drugs Supplies
7/6/09    Payment     116889       DRUGS UNLIMITED, INC.                   1,956.30   Drugs Supplies
7/6/09    Payment     116797       MUNICIPIO DE UTUADO                        19.88   Ivu Municipal
7/6/09    Payment     116796       SECRETARIO DE HACIENDA                    134.00   Ivu Estatal
7/7/09    Payment     116897       A & S WIRELESS                            234.00   Cellphones Accessories
7/7/09    Payment     116891       Dr. Guadalupe Santiago Santiag            542.19   Professional Services Physician
7/7/09    Payment     116893       Dr. Jose M Ortega Velez                   542.19   Professional Services Physician
7/7/09    Payment     116895       DR. LUIS PEREZ PEREZ                      542.19   Professional Services Physician
7/7/09    Payment     116892       Dr. Miguel A Roman Pagan                  542.19   Professional Services Physician
7/7/09    Payment     116894       DR. TOMAS TALAVERA                        542.19   Professional Services Physician
7/7/09    Payment     116896       JUAN CORDERO                              102.40   Pharmacy Supplies
7/7/09    Payment     116898       NATIONAL LUMBER                            65.25   Maintenance Supplies
7/8/09    Payment     116887       Angel Collazo                             250.00   Advertising Expenses
7/8/09    Payment     116886       ATLANTIC OFFICE SUPPLIES                   74.90   Office Supplies
7/8/09    Payment     116855       DR. MANUEL MEDINA                       3,000.00   Professional Services Radiologist
7/8/09    Payment     116720       Internal Revenue Service                1,179.81   Internal Revenue Service 941PR
7/8/09    Payment     116914       Internal Revenue Service                  671.49   Internal Revenue Service 941PR
7/8/09    Payment     116903       Municipio de Utuado                        18.94   Ivu Municipal
7/8/09    Payment     116905       RAINBOW OPTICAL                           326.05   Optical References
7/8/09    Payment     116497       Secretario de Hacienda                    628.90   PR Desempleo 4QT 2008
7/8/09    Payment     116498       Secretario de Hacienda                     82.28   PR Dissability 4QT 2008
7/8/09    Payment     116902       Secretario de Hacienda                    114.00   Ivu Estatal
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   Date     Type       CK Number                     Name                Amount
7/9/09    Payment     116908       CASH                                       52.00   X Ray Survey
7/9/09    Payment     116901       DROGUERIA BETANCES                        587.01   Drugs Supplies
7/9/09    Payment     116900       DRUGS UNLIMITED, INC.                   2,106.53   Drugs Supplies
7/9/09    Payment     116909       PUERTO RICO HOSPITAL SUPPLY             1,716.11   ER Supplies
7/10/09   Payment     116335       Doral Bank                                210.48   Payment 941PR 2QT 2009
7/10/09   Payment     116884       Lcda. Iris M. Ortiz Morales             1,302.00   Professional Services Pharmacy
7/13/09   Payment     116904       CDT DR. CAPARROS                          500.00   Reserve Account Banco Popular
7/13/09   Payment     116789       DROGUERIA BORSCHOW                      3,622.00   Drugs Supplies
7/13/09   Payment     116964       FIA CARD SERVICES                       1,000.00   Visa Corporate
7/13/09   Payment     116965       XEROX CORPORATION                         323.72   Photocopier Leasing
7/13/09   Payment     116966       XEROX CORPORATION                          90.15   Photocopier Leasing
7/13/09   Payment     116967       XEROX CORPORATION                         378.57   Photocopier Leasing
7/13/09   Payment     116968       XEROX CORPORATION                         569.02   Photocopier Leasing
7/13/09   Payment     116969       XEROX CORPORATION                         451.15   Photocopier Leasing
7/13/09   Payment     116970       XEROX CORPORATION                         378.57   Photocopier Leasing
7/13/09   Payment     116971       XEROX CORPORATION                         630.95   Photocopier Leasing
7/14/09   Payment     116953       ATLANTIC OFFICE SUPPLIES                  299.42   Office Supplies
7/14/09   Payment     116917       DROGUERIA BETANCES                        666.36   Drugs Supplies
7/14/09   Payment     116915       DRUGS UNLIMITED, INC.                     923.90   Drugs Supplies
7/14/09   Payment     116876       Laboratorio Clinico Toledo, In          1,569.90   Laboratory Reference
7/14/09   Payment     116975       LIFE IMAGING                              603.68   X Rays Supplies
7/14/09   Payment     116974       SABIAMED                                1,958.34   Billing Software
7/15/09   Payment     116958       BRENDA RODRIGUEZ                          100.00   Professional Services Laboratory
7/15/09   Payment     116910       CARMIN CORREA                             109.96   Optical Supplies
7/15/09   Payment     116955       COCA COLA                                 216.70   Pharmacy Supplies
7/15/09   Payment     116959       DAYANARA SOTO                             167.40   Professional Services X Ray Technician
7/15/09   Payment     116963       DR. DAMACIO PAGAN RODRIGUEZ             1,375.24   Professional Services Physician
7/15/09   Payment     116856       DR. MANUEL MEDINA                       2,685.00   Professional Services Radiologist
7/15/09   Payment     116961       Dr. Pedro Arias                           850.95   Professional Services Physician
7/15/09   Payment     116960       DRA. WALESKA GONZALEZ                     210.00   Professional Services Physician
7/15/09   Payment     116916       DRUGS UNLIMITED, INC.                     377.80   Drugs Supplies
7/15/09   Payment     116794       Fondo del Seguro del Estado               400.00   Employees Insurance
7/15/09   Payment     116962       Harry G Lugo                            2,717.92   Professional Services Physician
7/15/09   Payment     116957       LIC. MARGARITA TORRES                     465.00   Professional Services Laboratory
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   Date     Type        CK Number                   Name               Amount
7/15/09   Payment 116956            RAIMUNDO RIVERA PEREZ                  279.00   Professional Services Laboratory
7/15/09   Payment 116906            Secretario de Hacienda               1,935.74   PR Desempleo 3QT 2008
7/15/09   Payment 116907            Secretario de Hacienda                 452.26   PR Dissability 3QT 2008
7/15/09   Payment 116979            UMECO                                  354.82   ER Supplies
7/16/09   Payroll Entry116918       Amarilys Perez                         418.34   Payroll
7/16/09   Payroll Entry116919       Ana L. Torres                          434.05   Payroll
7/16/09   Payroll Entry116949       Ana R. Perez                         1,134.03   Payroll
7/16/09   Payroll Entry116942       Ana V. Camacho                         792.38   Payroll
7/16/09   Payment 116952            ANDA                                   110.88   Drugs Supplies
7/16/09   Payroll Entry116920       Andres R. Gonzalez Bonilla             351.04   Payroll
7/16/09   Payroll Entry116921       Angelisa Vazquez                       577.22   Payroll
7/16/09   Payroll Entry116922       Aurimar Soto Molina                    372.76   Payroll
7/16/09   Payroll Entry116923       Awilda Mendez                          688.86   Payroll
7/16/09   Payroll Entry116924       Brenda L. Rodriguez                  1,239.00   Payroll
7/16/09   Payroll Entry116925       Carmen C. Rodriguez                    663.87   Payroll
7/16/09   Payroll Entry116926       Carmen Lugo                            260.74   Payroll
7/16/09   Payroll Entry116927       Daysi Maldonado                        434.05   Payroll
7/16/09   Payment 116980            DORAL BANK                           4,189.88   Payment 941PR 3QT 2009
7/16/09   Payment 116950            DR. EDGARDO PEREZ                    3,362.88   Professional Services Physician
7/16/09   Payment 116954            DR. RAFAEL CRUZ TIRADO               2,278.50   Professional Services Physician
7/16/09   Payment 117067            DRA. MARIA CUAUTLI                   1,613.22   Professional Services Physician
7/16/09   Payment 116976            DROGUERIA BETANCES                     434.25   Drugs Supplies
7/16/09   Payment 116977            DRUGS UNLIMITED, INC.                  971.95   Drugs Supplies
7/16/09   Payment 116951            Harry G Lugo                         1,674.00   Professional Services Physician
7/16/09   Payment 116982            Henry Schein                           345.42   ER Supplies
7/16/09   Payroll Entry116928       Jahaira Gerena                         416.11   Payroll
7/16/09   Payroll Entry116943       Jeanette Diaz                          830.07   Payroll
7/16/09   Payroll Entry116929       Juan L. Caparros                     1,238.00   Payroll
7/16/09   Payroll Entry116930       KIOMARA VAZQUEZ                        499.33   Payroll
7/16/09   Payroll Entry116931       Lisvette Salva                       1,550.19   Payroll
7/16/09   Payroll Entry116948       Lisvette Salva                       3,055.13   Payroll
7/16/09   Payroll Entry116932       Liza Hernandez                         406.86   Payroll
7/16/09   Payroll Entry116933       LUIS A. GUTIERREZ                      244.63   Payroll
7/16/09   Payroll Entry116934       Maria L. Rivera Rivera                 728.75   Payroll
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   Date     Type        CK Number                     Name             Amount
7/16/09   Payroll Entry116935       Marisol Gonzalez                     1,238.00   Payroll
7/16/09   Payroll Entry116936       Marisol Lopez                          634.38   Payroll
7/16/09   Payroll Entry116937       Miguel Maldonado                       660.19   Payroll
7/16/09   Payroll Entry116938       Minerva Medina                         387.48   Payroll
7/16/09   Payroll Entry116944       Miriam Rosa                            760.67   Payroll
7/16/09   Payroll Entry116939       Nydia S. Muñoz                         569.74   Payroll
7/16/09   Payment 116983            PUERTO RICO HOSPITAL SUPPLY             33.98   ER Supplies
7/16/09   Payroll Entry116940       Raquel Irizarry Zeda                   306.07   Payroll
7/16/09   Payroll Entry116945       Rossie Nevarez                         857.27   Payroll
7/16/09   Payment 116981            Secretario de Hacienda               2,749.46   PR Taxes 499-R1 3QT 2009
7/16/09   Payroll Entry116946       Sonia Vazquez                          317.97   Payroll
7/16/09   Payroll Entry116941       Yaritza Matos                          446.58   Payroll
7/17/09   Payment 116978            DRUGS UNLIMITED, INC.                  686.20   Drugs Supplies
7/17/09   Payment 116885            Lcda. Iris M. Ortiz Morales          1,302.00   Professional Services Pharmacy
7/17/09   Payment 116881            Secretario de Hacienda               1,594.08   Payment Plan
7/20/09   Payment 116994            AT&T MOBILITY                          141.72   Utilities - Telephone
7/20/09   Payment 117010            ATLANTIC OFFICE SUPPLIES                58.60   Office Supplies
7/20/09   Payment 117011            ATLANTIC OFFICE SUPPLIES               661.61   Office Supplies
7/20/09   Payment 117012            ATLANTIC OFFICE SUPPLIES               500.00   Office Supplies
7/20/09   Payment 116996            AUTORIDAD ENERGIA ELECTRICA            500.00   Electric Power Authority- Utilities
7/20/09   Payment 116997            AUTORIDAD ENERGIA ELECTRICA            200.00   Electric Power Authority- Utilities
7/20/09   Payment 116998            AUTORIDAD ENERGIA ELECTRICA            500.00   Electric Power Authority- Utilities
7/20/09   Payment 116999            AUTORIDAD ENERGIA ELECTRICA          1,091.81   Electric Power Authority- Utilities
7/20/09   Payment 117000            AUTORIDAD ENERGIA ELECTRICA          1,323.70   Electric Power Authority- Utilities
7/20/09   Payment 117013            BIO NUCLEAR                            200.00   Laboratory Supplies
7/20/09   Payment 116995            CITI FINANCIAL RETAIL SERVICE          157.00   Air Conditioner for Pharmacy
7/20/09   Payment 117016            F Baragaño                             500.00   Laboratory Supplies
7/20/09   Payment 116988            Laboratorio Clinico Toledo, In       2,039.05   Laboratory Reference
7/20/09   Payment 117014            LIBERTY CABLEVISION                    201.08   Cable
7/20/09   Payment 117015            MORENO COMPUTER                        945.00   Pharmacy Software
7/20/09   Payment 117001            PUERTO RICO TELEPHONE                  101.71   Utilities - Telephone
7/20/09   Payment 117002            PUERTO RICO TELEPHONE                   81.65   Utilities - Telephone
7/20/09   Payment 117003            PUERTO RICO TELEPHONE                  441.05   Utilities - Telephone
7/20/09   Payment 117004            PUERTO RICO TELEPHONE                  110.88   Utilities - Telephone
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7/20/09   Payment 117005            PUERTO RICO TELEPHONE                  109.95   Utilities - Telephone
7/20/09   Payment 117006            PUERTO RICO TELEPHONE                   50.00   Utilities - Telephone
7/20/09   Payment 117007            PUERTO RICO TELEPHONE                   14.37   Utilities - Telephone
7/20/09   Payment 116986            QUEST DIAGNOSTICS                      416.78   Laboratory Reference
7/20/09   Payment 117017            RANDOX DE PUERTO RICO                  520.09   Laboratory Supplies
7/20/09   Payment 117009            STERICYCLE INC                         200.00   Biomedical Waste
7/20/09   Payment 117008            TLD DE P.R.                             52.22   Utilities - Telephone
7/21/09   Payment 117018            ANDA                                   381.60   Drugs Supplies
7/21/09   Payment 116992            DRUGS UNLIMITED, INC.                  966.65   Drugs Supplies
7/22/09   Payment 116911            CARMIN CORREA                          119.97   Optical Supplies
7/22/09   Payment 116993            DROGUERIA BETANCES                     390.40   Drugs Supplies
7/22/09   Payment 1083              US Treasury                          2,000.00   Internal Revenue Service 941PR
7/23/09   Payment 117019            DRUGS UNLIMITED, INC.                1,778.73   Drugs Supplies
7/24/09   Payment 117023            DROGUERIA BETANCES                   1,103.00   Drugs Supplies
7/24/09   Payment 117021            DRUGS UNLIMITED, INC.                1,670.78   Drugs Supplies
7/24/09   Payment 116990            Lcda. Iris M. Ortiz Morales          1,302.00   Professional Services Pharmacy
7/27/09   Payment 117022            DRUGS UNLIMITED, INC.                  863.64   Drugs Supplies
7/27/09   Payment 117032            IVPLUS                                 192.60   Laboratory Supplies
7/27/09   Payment 117025            RAMON VELEZ                          1,500.00   Professional Services CPA
7/27/09   Payment 117030            RANDOX DE PUERTO RICO                2,000.00   Laboratory Supplies
7/27/09   Payment 117031            SABIAMED                             1,958.34   Billing Software
7/27/09   Payment 117026            US Treasury                          2,000.00   Internal Revenue Service 941PR
7/29/09   Payment 117033            COCA COLA                              275.75   Pharmacy Supplies
7/29/09   Payment 117027            DRUGS UNLIMITED, INC.                  643.26   Drugs Supplies
7/29/09   Payment 117020            PUERTO RICO HOSPITAL SUPPLY          1,564.78   ER Supplies
7/31/09   Payroll Entry117034       Amarilys Perez                         502.69   Payroll
7/31/09   Payroll Entry117035       Ana L. Torres                          386.70   Payroll
7/31/09   Payroll Entry117036       Ana R. Perez                         1,220.50   Payroll
7/31/09   Payroll Entry117037       Ana V. Camacho                         786.70   Payroll
7/31/09   Payroll Entry117038       Andres R. Gonzalez Bonilla             360.73   Payroll
7/31/09   Payroll Entry117039       Angelisa Vazquez                       572.15   Payroll
7/31/09   Payroll Entry117040       Aurimar Soto Molina                    406.19   Payroll
7/31/09   Payroll Entry117041       Awilda Mendez                          693.80   Payroll
7/31/09   Payroll Entry117042       Brenda L. Rodriguez                  1,239.00   Payroll
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   Date     Type        CK Number                     Name             Amount
7/31/09   Payment 117070            BRENDA RODRIGUEZ                        40.00   Employees Benefits
7/31/09   Payroll Entry117043       Carmen C. Rodriguez                    699.91   Payroll
7/31/09   Payroll Entry117044       Carmen Lugo                            347.09   Payroll
7/31/09   Payroll Entry117045       Daysi Maldonado                        412.76   Payroll
7/31/09   Payment 117081            DORAL BANK                           3,292.76   Payment 941PR 3QT 2009
7/31/09   Payment 117064            DR. EDGARDO PEREZ                    3,826.02   Professional Services Physician
7/31/09   Payment 117075            Dr. Guadalupe Santiago Santiag         531.58   Professional Services Physician
7/31/09   Payment 117076            Dr. Jose M Ortega Velez                531.58   Professional Services Physician
7/31/09   Payment 117079            DR. LUIS PEREZ PEREZ                   531.58   Professional Services Physician
7/31/09   Payment 117077            Dr. Miguel A Roman Pagan               531.58   Professional Services Physician
7/31/09   Payment 117071            DR. RAFAEL CRUZ TIRADO                 500.00   Employees Benefits
7/31/09   Payment 117080            DR. RAFAEL CRUZ TIRADO               1,920.45   Professional Services Physician
7/31/09   Payment 117078            DR. TOMAS TALAVERA                     531.58   Professional Services Physician
7/31/09   Payment 117068            DRA. MARIA CUAUTLI                   2,557.50   Professional Services Physician
7/31/09   Payment 117028            DROGUERIA BETANCES                     287.96   Drugs Supplies
7/31/09   Payment 117066            Harry G Lugo                         1,674.00   Professional Services Physician
7/31/09   Payroll Entry117046       Jahaira Gerena                         422.91   Payroll
7/31/09   Payroll Entry117072       Jeanette Diaz                          875.31   Payroll
7/31/09   Payment 117024            JOHNY RODRIGUEZ                        628.00   Pharmacy Supplies
7/31/09   Payroll Entry117048       Juan L. Caparros                     1,238.00   Payroll
7/31/09   Payroll Entry117049       KIOMARA VAZQUEZ                        497.86   Payroll
7/31/09   Payment 117069            KIOMARA VAZQUEZ                        200.00   Employees Benefits
7/31/09   Payment 116989            Laboratorio Clinico Toledo, In       1,472.75   Laboratory Reference
7/31/09   Payment 116991            Lcda. Iris M. Ortiz Morales          1,302.00   Professional Services Pharmacy
7/31/09   Payroll Entry117050       Liza Hernandez                         471.76   Payroll
7/31/09   Payroll Entry117051       LUIS A. GUTIERREZ                      280.54   Payroll
7/31/09   Payroll Entry117052       Maria L. Rivera Rivera                 699.38   Payroll
7/31/09   Payroll Entry117053       Marisol Gonzalez                     1,238.00   Payroll
7/31/09   Payroll Entry117054       Marisol Lopez                          573.41   Payroll
7/31/09   Payroll Entry117055       Miguel Maldonado                       589.03   Payroll
7/31/09   Payroll Entry117056       Minerva Medina                         389.58   Payroll
7/31/09   Payroll Entry117057       Miriam Rosa                            808.19   Payroll
7/31/09   Payroll Entry117058       Nydia S. Muñoz                         582.50   Payroll
7/31/09   Payment 116987            QUEST DIAGNOSTICS                      416.78   Laboratory Reference
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   Date     Type        CK Number                     Name             Amount
7/31/09   Payroll Entry117059       Raquel Irizarry Zeda                   265.68   Payroll
7/31/09   Payroll Entry117060       Rossie Nevarez                         856.42   Payroll
7/31/09   Payment 117082            Secretario de Hacienda               1,474.79   PR Taxes 499-R1 3QT 2009
7/31/09   Payroll Entry117062       Sonia Vazquez                          415.47   Payroll
7/31/09   Payroll Entry117065       Sonia Vazquez                          134.28   Payroll
7/31/09   Payroll Entry117061       Yaritza Matos                          411.42   Payroll
8/3/09    Payment 117092            Secretario de Hacienda               3,238.89   PR Taxes 480-6B
8/4/09    Payment 117084            ATLANTIC OFFICE SUPPLIES               446.78   Office Supplies
8/4/09    Payment 117029            DRUGS UNLIMITED, INC.                1,639.81   Drugs Supplies
8/4/09    Payment 117083            LIFE IMAGING                           285.18   X Rays Supplies
8/5/09    Payment 1084              US Treasury                          2,000.00   Internal Revenue Service 941PR
8/6/09    Payment 117091            ANDA                                   593.71   Drugs Supplies
8/6/09    Payment 117088            DROGUERIA BETANCES                     930.95   Drugs Supplies
8/6/09    Payment 117086            DRUGS UNLIMITED, INC.                1,688.46   Drugs Supplies
8/7/09    Payment 117085            ATLANTIC OFFICE SUPPLIES               446.78   Office Supplies
8/10/09   Payment 117089            DROGUERIA BETANCES                     275.58   Drugs Supplies
8/10/09   Payment 117090            DROGUERIA FMC DISTRIBUTORS             352.52   Drugs Supplies
8/10/09   Payment 117087            DRUGS UNLIMITED, INC.                1,640.31   Drugs Supplies
8/11/09   Payment 117097            BBVA Banco                             240.30   Auto Loan
8/11/09   Payment 117093            Central Insurance Finance Corp         924.00   Insurance
8/11/09   Payment 117095            DORAL FINANCIAL                        629.74   Mortgage Loan
8/11/09   Payment 117100            ISLA LAB                               185.64   Laboratory Supplies
8/11/09   Payment 117094            ORIENTAL GROUP                         673.00   Mortgage Loan
8/11/09   Payment 117098            POPULAR AUTO                           196.46   Printers Leasing
8/11/09   Payment 117099            POPULAR AUTO                           860.03   Laboratory Equipment Leasing
8/11/09   Payment 1085              RAMON VELEZ                          2,000.00   Professional Services CPA
8/11/09   Payment 117096            RELIABLE FINANCIAL SERVICES            554.40   Auto Loan
8/13/09   Payment 117104            DROGUERIA BETANCES                   1,096.69   Drugs Supplies
8/13/09   Payment 117101            DRUGS UNLIMITED, INC.                  981.92   Drugs Supplies
8/13/09   Payment 117103            DRUGS UNLIMITED, INC.                1,096.69   Drugs Supplies
8/14/09   Payment 117106            CARRIER INC                          2,880.44   Air Conditioner Services
8/14/09   Payment 116795            Fondo Seguro de Estado                 200.00   Employees Insurance
8/14/09   Payment 117074            Lcda. Iris M. Ortiz Morales          1,302.00   Professional Services Pharmacy
8/14/09   Payment 116912            Secretario de Hacienda                 699.35   PR Dissability 2QT 2008
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   Date     Type        CK Number                   Name               Amount
8/14/09   Payment 116913            Secretario de Hacienda               4,760.38   PR Desempleo 2QT 2008
8/14/09   Payment 116984            Secretario de Hacienda               4,043.32   PR Desempleo 1QT 2008
8/14/09   Payment 116985            Secretario de Hacienda               1,187.92   PR Dissability 1QT 2008
8/17/09   Payroll Entry1086         Amarilys Perez                         454.09   Payroll
8/17/09   Payroll Entry1087         Ana L. Torres                          473.13   Payroll
8/17/09   Payroll Entry1088         Ana R. Perez                         1,246.76   Payroll
8/17/09   Payroll Entry1089         Ana V. Camacho                         885.12   Payroll
8/17/09   Payroll Entry1090         Andres R. Gonzalez Bonilla             406.60   Payroll
8/17/09   Payroll Entry1091         Angelisa Vazquez                       627.49   Payroll
8/17/09   Payroll Entry1092         Aurimar Soto Molina                    463.88   Payroll
8/17/09   Payroll Entry1093         Awilda Mendez                          766.72   Payroll
8/17/09   Payroll Entry1094         Brenda L. Rodriguez                  1,239.00   Payroll
8/17/09   Payment 1118              BRENDA RODRIGUEZ                       100.00   Professional Services Laboratory
8/17/09   Payroll Entry1095         Carmen C. Rodriguez                    666.66   Payroll
8/17/09   Payroll Entry1096         Carmen Lugo                            432.59   Payroll
8/17/09   Payroll Entry1097         Daysi Maldonado                        420.72   Payroll
8/17/09   Payment 1113              DR. DAMACIO PAGAN RODRIGUEZ          2,023.91   Professional Services Physician
8/17/09   Payment 1125              DRA. MARIA CUAUTLI                   1,613.22   Professional Services Physician
8/17/09   Payment 117102            DRUGS UNLIMITED, INC.                  558.46   Drugs Supplies
8/17/09   Payment 1114              Harry G Lugo                         1,625.17   Professional Services Physician
8/17/09   Payment 1124              Harry G Lugo                         1,980.90   Professional Services Physician
8/17/09   Payroll Entry1098         Jahaira Gerena                         492.38   Payroll
8/17/09   Payroll Entry1099         Jeanette Diaz                          793.87   Payroll
8/17/09   Payroll Entry1129         Juan L. Caparros                     1,238.00   Payroll
8/17/09   Payroll Entry1100         KIOMARA VAZQUEZ                        496.79   Payroll
8/17/09   Payment 1120              LIC. MARGARITA TORRES                  465.00   Professional Services Laboratory
8/17/09   Payroll Entry1101         Liza Hernandez                         479.72   Payroll
8/17/09   Payroll Entry1102         LUIS A. GUTIERREZ                      456.17   Payroll
8/17/09   Payroll Entry1103         Maria L. Rivera Rivera                 836.91   Payroll
8/17/09   Payroll Entry1128         Marisol Gonzalez                     1,238.00   Payroll
8/17/09   Payroll Entry1104         Marisol Lopez                          700.91   Payroll
8/17/09   Payroll Entry1105         Miguel Maldonado                       692.95   Payroll
8/17/09   Payroll Entry1106         Minerva Medina                         436.45   Payroll
8/17/09   Payroll Entry1107         Miriam Rosa                            933.78   Payroll
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   Date     Type        CK Number                    Name              Amount
8/17/09   Payment 1119              MIRIAM ROSA                             82.20   Professional Services Nursing
8/17/09   Payroll Entry1108         Nydia S. Muñoz                         600.98   Payroll
8/17/09   Payment 1121              RAIMUNDO RIVERA PEREZ                  279.00   Professional Services Laboratory
8/17/09   Payroll Entry1109         Raquel Irizarry Zeda                   307.38   Payroll
8/17/09   Payroll Entry1110         Rossie Nevarez                         856.42   Payroll
8/17/09   Payment 116882            Secretario de Hacienda               1,594.08   Plan de Pago
8/17/09   Payroll Entry1112         Sonia Vazquez                          509.26   Payroll
8/17/09   Payroll Entry1111         Yaritza Matos                          511.67   Payroll
                                    Report Total:                      794,036.77




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